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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No.: 16-cv-00879-LTB-CBS

  JAMES NGUYEN,

         Plaintiff,

  v.

  CITY AND COUNTY OF DENVER, COLORADO

        Defendant.
  ______________________________________________________________________________

    PLAINTIFF’S RESPONSE TO DEFENDANT CITY AND COUNTY OF DENVER’S
                       MOTION FOR SUMMARY JUDGMENT
  ______________________________________________________________________________

         Plaintiff, by and through undersigned counsel, hereby submits the following Response to

  Defendant City and County of Denver’s Motion for Summary Judgment (“Motion”), [Doc. 37],

  and in support thereof states the following:

                                        I.   INTRODUCTION

         Denver Police Department (“DPD”) fired Officer James Nguyen because he is disabled.

  Defendant’s arguments otherwise are nothing but red herrings designed to shift the focus away

  from Defendant’s egregious misconduct, misconduct that Defendant knew was illegal because

  almost twenty years ago it lost a series of court cases brought by individual DPD officers and the

  Department of Justice due to DPD’s willful failure to provide reasonable accommodations for

  the known disabilities of its officers. See Davoll v. Webb, 194 F.3d 1116 (10th Cir. 1999); United

  States v. City & Cty. of Denver, 49 F. Supp. 2d 1333 (D. Colo. 1999). Rather than learning from

  this history, DPD has remained steadfast in resisting the mandates of the American with




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  Disabilities Act, as amended (“ADA”). Officer Nguyen’s experience is a perfect illustration of

  how far Defendant will go to escape its ADA obligations.

         Officer Nguyen had a known hearing disability, for which he wore hearing aids, when he

  was hired as a recruit officer by DPD, after successfully working as a police officer for three

  years at another department. After he graduated from the DPD Academy, his training officers

  began to note concerns about his hearing. After letting Officer Nguyen work as a trainee officer

  for approximately fifteen weeks, during which issues with his hearing were extensively

  documented and discussed by his training officers and their supervisors, Defendant decided that

  Officer Nguyen’s hearing disability made him a liability and began termination proceedings.

  When Officer Nguyen raised concerns to Human Resources that his hearing disability was the

  reason for his termination, Defendant initiated the “interactive process” (IAP), which is a

  procedure contemplated by the ADA in which an employer and employee work together to

  determine a reasonable accommodation.

         Although the DPD’s ADA policy provides that the IAP “shall” be initiated when DPD

  has actual or constructive notice that an officer may have a disability for which a reasonable

  accommodation is needed, and DPD undeniably had known since the beginning of Officer

  Nguyen’s training that his hearing was affecting the performance of his duties, Defendant waited

  until after it had already decided to terminate Officer Nguyen to initiate the process. By that

  point, Officer Nguyen’s supervisors were resolved that he was not going to be a DPD cop, no

  matter the results of the IAP. Thus, although Officer Nguyen’s doctor recommended during the

  IAP that he obtain stronger hearing aids and a Bluetooth device for connecting with the police

  radio, Defendant refused to provide Officer Nguyen those accommodations. To effectuate this

  refusal, Defendant determined that, despite all medical and anecdotal evidence to the contrary,



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  Officer Nguyen did not have a disability and therefore it did not have to reasonably

  accommodate him, and it officially fired him the next day. Also demonstrating that the IAP was

  a sham and that DPD had no intention of letting Officer Nguyen return to work no matter what

  happened in the IAP was Officer Nguyen’s supervisors’ complete disregarded of an allegation of

  discrimination he made against one of his training officers. Indeed, they testified that because

  they had already decided before the IAP that Officer Nguyen was not returning to the DPD

  training program, there was no need to investigate his allegation of discrimination.

            Defendant entirely ignores the fact that it conducted a sham IAP to make it appear like it

  complied with the ADA without actually complying, as well as the fact that it violated its own

  policy—and the ADA—by not beginning the IAP when it had notice Officer Nguyen needed an

  accommodation. Instead, Defendant has defended this case by arguing, on one hand, that Officer

  Nguyen’s hearing was bad enough that it had legitimate justification to fire him, but on the other

  hand, his hearing was not so bad that he was disabled. Because, there thus exist disputed factual

  issues regarding whether Defendant discriminated against Officer Nguyen on the basis of his

  disability, either by failing to reasonably accommodate him (including not participating in the

  IAP in good faith) or by terminating him because of his disability, Defendant is not entitled to

  summary judgment.

      II.    RESPONSE TO DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL
                                 FACTS (“RSUMF”)1

            1.     Admit that Officer Nguyen has had bilateral conductive hearing loss since birth,

  and that he worked as a police officer at Lakeside Police Department from June 2010 to April

  2013. Admit that he worked a part-time schedule; he worked between thirty to thirty-six hours a




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      Plaintiff’s responses are for purposes of Defendant’s Motion only.
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  week on average, although he occasionally worked a full-time schedule. Ex. 1, James Nguyen

  Deposition at 61:14-62:3, Jan. 31, 2017. Deny that most of Officer Nguyen’s training at

  Lakeside and over half the calls he responded to involved traffic incidents. Officer Nguyen

  testified that most of his calls and training at Lakeside concerned “traffic accident investigations,

  medical assists, traffic enforcement, and assist other agencies.” Id. at 69:21-70:11 (emphasis

  added). Records from his training at Lakeside Police Department (“LSPD”) show that his

  training involved these areas as well as drug offense and investigations of major incidents or

  felonies. Ex. 2, Lakeside Police Department FTO Records, at 2.

         2.       Admit that Officer Nguyen wore an earpiece in his left ear at LSPD, which

  wirelessly connected through a FreeLinc wireless transmitter/receiver device to his police radio.

  The LSPD chief purchased the FreeLinc for Officer Nguyen’s use and benefit as soon as soon as

  it became apparent that Officer Nguyen was struggling with hearing the radio. Ex. 3, Dan

  Montgomery Expert Witness Report, at 8-9. According to Officer Nguyen’s training officer at

  LSPD, the FreeLinc device “made ‘all the difference in the world’ in terms of Officer Nguyen’s

  radio-related performance.” Id. at 9; see also Ex. 1, Nguyen Dep. 89:24-90:2.

         3.       Admit that the job description for DPD officers includes various hearing ability

  requirements.

         4.       Admit in part. The job description of a DPD police officer lists certain duties and

  abilities that Defendant describes as “essential job functions” (although Defendant may have

  taken some liberties with its description, given that “[d]etermining the fastest route to a crime

  scene” does not appear in this list). Deny that those duties and abilities are necessarily “essential

  job functions” as that term is used for purposes of determining whether an employee is a

  “qualified individual with a disability” under the ADA.



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         5.      Admit that Officer Nguyen provided information regarding his hearing

  impairment to Defendant before it hired him.

         6.       Admit that Officer Nguyen attended the DPD Academy from April through

  October 2013. Admit Officer Nguyen sat “[s]omewhat close to the front” during his classes at

  the Academy,” but deny he had trouble hearing. Officer Nguyen testified that if someone “talked

  low,” he would ask them to speak up, but he did not testify, nor does it necessarily follow, that

  he did so because he was having difficulties hearing them; someone speaking louder may have

  made it easier for him to hear but he still may have heard adequately otherwise. Ex. 1, Nguyen

  Dep. 109:11-110:4.

         7.      Admit that Officer Nguyen asked one of Defendant’s employees at the Academy

  to provide a FreeLinc device for him and that recruits did not use a radio during the Academy.

         8.      Admit that Officer Nguyen began a four-phase field training officer (“FTO”)

  program after he successfully graduated from the Academy, and that he did not again ask for a

  FreeLinc during FTO. However, as discussed below in § V.B.2.a, Defendant’s obligation to

  provide Officer Nguyen a reasonable accommodation for his known disability attached once

  Defendant had notice of his need for such, and it is irrelevant that he was not yet using a radio

  when he asked for Defendant to provide the FreeLinc.

                 Admit that reports completed by Officer Nguyen’s training officers included what

  DPD labels “significant weaknesses” in each phase of FTO. But Officer Nguyen disputes the

  implication Defendant fired him because of his so-called significant weaknesses (which, as

  discussed in the Statement of Additional Disputed Material Facts, many recruits had in every

  phase) rather than because of his hearing disability.

         9.      Admit.



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         10.     Deny. Officer Nguyen specifically testified that the wired earpiece did not work

  as well or effectively as the wireless FreeLinc in helping him hear the police radio. Ex. 1,

  Nguyen Dep. 120:11-13, 121:3-122:21. Officer Nguyen testified merely that he believed he was

  hearing the radio adequately with the wired earpiece (although there is no evidence in the record

  that any Denver employee ever asked him before he was fired whether he believed the wired

  earpiece was sufficient to meet his needs, and the FTO reports filled out by his training officers

  show that it was not).

         11.     Admit.

         12.     Admit.

         13.     Admit in part, as Defendant’s statement is misleading without more context.

  Officer Nguyen testified that he asked Corporal Ford, one of his training officers during FTO, if

  he had any suggestions regarding how to help him with the issues caused by his hearing

  disability, but Corporal Ford did not have any suggestions. Ex. 1, Nguyen Dep. 167:10-21,

  170:3-7.

         14.     Admit.

         15.     Admit that Corporal Ford testified that this was his intent.

         16.     Admit.

         17.     Admit.

         18.     Admit.

         19.     Admit that training officers fill out “End of Phase Reports.” Otherwise, Admit to

  the extent that “Routine Forms” is listed as a significant weakness in Officer Nguyen’s End of

  Phase Report for Phases 1, 2, and 3; “Officer Safety” is listed as a significant weakness for

  Phases 1 and 4; “Orientation/Response Time to Calls” is listed as a significant weakness for



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  Phases 2, 3, and 4; “Report Writing” is listed as a significant weakness for Phases 2, 3, and 4;

  and “Radio Listens and Comprehends” is listed as a significant weaknesses for all four phases.

  Def.’s Mot. Summ. J., Ex 8, End of Phase 1 Report, at 4-7; Def.’s Mot. Summ. J., Ex. 9, End

  of Phase 2 Report, at 5-6; Def.’s Mot. Summ. J., Ex. 10, End of Phase 3 Report, at 3-5; Def.’s

  Mot. Summ. J., Ex. 11, End of Phase 4 Report, at 3-6. Admit that for the most part, Officer

  Nguyen agreed during his deposition testimony that his significant weaknesses for any given

  phase were those listed on the End of Phase Report; however, Defendant does not cite to any

  deposition testimony in which Officer Nguyen agreed “Officer Safety” was a significant

  weakness in Phase 1.

         20.     Admit.

         21.     Admit in part. Officer Nguyen testified that he told Officer Juarez that the hearing

  aids he was using were “the best fit for [his] ear mold” and “the best fit for him.” Ex. 1, Nguyen

  Dep. 177:17-18.

         22.     Admit that according to a report on Officer Nguyen’s daily performance in FTO

  (a “Daily Observation Report” or “DOR”) by Corporal Juarez, one of his training officers,

  Corporal Juarez suggested that Officer Nguyen should get a second opinion on what hearing

  devices he should be using. Def.’s Mot. Summ. J., Ex 12, 12/09/13 Daily Observation Report,

  at 1. Admit that during Officer Nguyen’s deposition testimony, he agreed that he “underst[ood]

  that to mean that [his] hearing was serious problem at [that] time.” Ex. 1, Nguyen Dep. 179:19-

  23.

         23.     Admit.

         24.     Admit that Officer Nguyen saw his otologist, Dr. Feehs, on January 15, 2014, to

  discuss possible surgical options because Officer Nguyen believed that Corporal Juarez wanted



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  him to discuss that sort of a solution with his doctor (he previously had surgeries that had

  improved his hearing for several years). Admit that Dr. Feehs charted that Officer Nguyen

  “would look into the option of a new hearing aid first and call to schedule [a possible surgery], if

  desired.” Deny that Dr. Feehs made any recommendation regarding Officer Nguyen seeing an

  audiologist to discuss hearing aids; Officer Nguyen specifically testified that Dr. Feehs did not

  tell him to schedule an appointment with an audiologist, but rather referred him to an audiologist

  in his practice if he wanted to discuss hearing aids. Ex. 1, Nguyen Dep.182:20-185:10.

         25.     Admit that Officer Nguyen saw an audiology extern on January 15, 2014, who

  charted that she explained to Officer Nguyen that “a higher tech level [would] provide more

  benefit.” Ex. 4, Ashley Huerta Dep. 14:1, 15:17-16:18, 19:9-14, Mar. 31, 2017. However,

  Officer Nguyen’s audiologist, Dr. Ashley Huerta, testified that she believed the extern’s

  recommendation was incorrect because based on the nature of Officer Nguyen’s hearing loss, he

  did not need higher-level technology. Id. at 20:3-13. Admit that the extern charted Officer

  Nguyen did not want behind-the-ear (“BTE”) hearing aids because he was in law enforcement.

  Dr. Huerta testified that Officer Nguyen was concerned about how more visible hearing aids like

  BTEs would affect people’s impression of him on the job. Id. at 19:16-20:20, 60:18-61:1.

         26.     Admit in part. Officer Nguyen testified that he explained to Corporal Day,

  another of his FTO training officers, that “surgery was a risk for [him] so [he] didn’t think [he]

  wanted to go through with that.” Ex. 1, Nguyen Dep. 189:12-16. Officer Nguyen testified that he

  felt he “needed to . . . research hearing aids to see which one [was] better for [him]” so “[he]

  wasn’t going to make any modifications at that time because [he] didn’t know which one [he]

  prefer[ed].” Id. at 189:18-24.

         27.     Admit in part and deny in part as follows:



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             a. Admit that in his End of Phase 1 Report, Corporal Ford described one incident in
                which officers had to repeat themselves and raise their voices to communicate
                with Officer Nguyen, Def.’s Mot. Summ. J., Ex 8, at 5-6;

             b. Admit that during the same incident as that described above, ¶ 27.a, Corporal
                Ford wrote that Officer Nguyen “turn[ed] his back to the target location in order
                to hear and understand what the other officer was stating,” Id. at 5;

             c. Admit that Corporal Ford wrote in the same report that Officer Nguyen did not
                hear his commands so he did not follow his orders regarding taking control of the
                suspect, Id. at 6;

             d. Admit that Corporal Ford also wrote that one time during a traffic stop, Officer
                Nguyen did not hear gun shots several blocks away, Id. at 6;

             e. Admit that sometimes Plaintiff missed radio communications;

             f. Admit that in his End of Phase 3 Report, Corporal Day wrote that Officer Nguyen
                did not hear the location of a shooting transmitted over the radio, nor did he hear a
                call regarding a stabbing, Def.’s Mot. Summ. J., Ex. 10, at 4-5;

             g. Admit;

             h. Deny. Corporal Ford wrote in his End of Phase 1 Report that Officer Nguyen took
                “approximately three times as long as a tenured officer” to complete certain
                reports, not three times as long as a normal recruit in Phase 1 of FTO, Def.’s Mot.
                Summ. J., Ex 8, at 4 (emphasis added);

             i. Admit that Corporal Day wrote in his End of Phase 3 Report that there were a
                few times when Officer Nguyen did not immediately know his current location,
                Def.’s Mot. Summ. J., Ex. 10, at 3;

             j. Admit that Corporal Juarez wrote in his End of Phase 2 Report that at times
                Officer Nguyen became disoriented when responding to a call, Def.’s Mot.
                Summ. J., Ex. 9, at 5;

             k. Admit that Corporal Day wrote in his End of Phase 2 Report that Officer Nguyen
                did not take the most direct route from the station to a residence, Def.’s Mot.
                Summ. J., Ex. 10, at 3.

         However, because, as discussed in the Statement of Additional Disputed Material Facts,

  many recruits in Officer Nguyen’s class struggled in materially similar ways, Officer Nguyen

  denies that he was terminated for his performance rather than his hearing disability.



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          28.      Admit that Corporal Ford was Officer Nguyen’s training officer in Phase 4 of

   FTO, and that recruits should perform 100% of the work in Phase 4. Otherwise, admit in part

   and deny in part as follows:

                a. Admit that Corporal Ford wrote in his End of Phase 4 Report that Officer Nguyen
                   was not always able to respond correctly when Corporal Ford quizzed him on his
                   current location and did not always take the most direct route when going to calls,
                   Def.’s Mot. Summ. J., Ex. 11, at 3;

                b. Admit in part. Defendant’s statement is ambiguous when compared with what
                   Corporal Ford wrote in his report. Per the report, Corporal Ford stated that
                   “[w]hen writing a letter to detectives regarding a possible sexual assault” Officer
                   Nguyen left out that “the victim had stated that she was raped”; Corporal Ford
                   also wrote that Officer Nguyen “placed the victims of child abuse in the report as
                   ‘involved’ instead of victims,” id. at 4;

                c. Deny. Corporal Ford wrote that Officer Nguyen “occasionally took 3-4 times the
                   amount of time it would take a tenured officer to complete a report,” not that
                   Officer Nguyen took 3-4 times longer than expected, id. (emphasis added);

                d. Admit in part. Corporal Ford wrote in his report that when he asked Officer
                   Nguyen why he let the suspect reach inside his coat, Officer Nguyen stated he that
                   was looking at the suspect’s face and trying to communicate with him; Corporal
                   Ford does not state that he had to intervene, id. at 5;

                e. Admit that sometimes Officer Nguyen did not hear radio and other
                   communications.

          29.      Admit.

          30.      Admit that Corporal Ford recommended that Officer Nguyen be placed in a two-

   week or possibly four-week remedial training phase after Phase 4 of FTO before advancing to a

   solo capacity. Admit that Officer Ford met with Corporal Ford, his FTO training supervisor,

   Sergeant Heimbigner, and others on February 7, 2014, to review the remedial training plan.

   Admit that purportedly the remedial training plan for Officer Nguyen focused both on report

   writing and radio listening and comprehension; however, the main focus of the meeting and the

   plan was Officer Nguyen’s hearing disability. According to Defendant’s records, “a lengthy



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   discussion was held concerning Recruit Nguyen’s hearing disability and how it impacts his

   performance in a variety of rating areas, but specifically listening to the radio.” Ex. 5, Record of

   February 7, 2014 Meeting on Remedial Training Plan. Officer Nguyen was informed that even if

   he successfully completed remedial training, a plan would be developed “to monitor his

   performance to ensure that his hearing deficiency [was] not impacting his ability to safely

   complete the job of patrol officer.” Id.

          The written remedial training plan for Officer Nguyen stated:

          Hearing related concerns remained constant throughout all four phases of training.
          Recruit Officer Nguyen’s hearing impairment . . . bleeds over into the area of
          effectively listening and communicating with other officers and citizens. It is
          important to note the following observations from Corporal Day from Phase
          Three when evaluating the likelihood of training being able to correct this
          deficiency. . . . “[T]here are still substantial concerns about Officer Nguyen’s
          hearing disability, which prevents him from reliably hearing spoken voices at
          normal conversational volumes. . . . It does not appear that any amount of training
          or instruction is likely to have an impact on the natural medical impairment of
          Officer Nguyen's hearing.”

   Def.’s Mot. Summ. J., Ex. 15, at 1-2.

          31.     Admit that after one week of remedial training, Lieutenant Archer directed

   Sergeant Heimbigner to pull Officer Nguyen out of remedial training and begin termination

   procedures. Deny that Plaintiff showed no improvement. Indeed, Sergeant Heimbigner was

   impeached on that issue when explaining in his deposition why DPD “reversed course” in

   initially planning to provide Officer Nguyen with two weeks of remedial training (and possibly

   two more weeks after that), but then recommending termination after Officer Nguyen had five

   days remedial training. Ex. 6, Jerry Heimbigner Dep. 56:22-24, 57:8-58:7, Mar. 15, 2017.

   Sergeant Heimbigner testified that he agreed to termination rather than advocate for Officer

   Nguyen to finish remedial training out of a “concern for safety,” and once he saw the DOR from

   Officer Nguyen’s fifth day of remedial training and “some of the performance issues that

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   occurred on that day, [he] identified that progress was not going to be made to a sufficient level.”

   Id. at 60:12-19, 64:4-8. However, regarding Sergeant Heimbigner’s specific concerns, the final

   DOR of Officer Nguyen’s training shows his performance was “acceptable” in both “Officer

   Safety” categories. Ex. 7, 2/16/14 Daily Observation Report, at 3. The DOR from Officer

   Nguyen’s second-to-last day of remedial training shows Officer Nguyen’s performance in

   “Officer Safety: Suspects/Prisoners” was “near superior,” and his performance in “Officer

   Safety: General” was “acceptable.” Ex. 8, 2/15/14 Daily Observation Report, at 2-3. Officer

   Heimbigner was unable to explain why the DOR from the last day of Officer Nguyen’s training,

   or even from the second-to-last day, made him decide that “enough [was] enough” in terms of

   pulling Officer Nguyen from remedial training rather than letting him finish remedial training

   before deciding whether to allow his employment with DPD to continue. Ex. 6, Heimbigner Dep.

   63:25-64:1, 84:22-85:16.

          32.     Admit.

          33.     Admit that Officer Nguyen met with Deputy Chief Quinones and other DPD

   employees on February 19, 2014. During the meeting, Deputy Chief Quinones told Officer

   Nguyen that because of his hearing deficiency, he would no longer progress in the training

   phase. Ex. 1, Nguyen Dep. 203:22-25, 204:13-16; see also Ex. 9, Quinones Dep. 51:24-52:1,

   Jan. 26, 2017 (“I told [Officer Nguyen] that his hearing disability contributed to some of the

   factors that were leading us to making [the] decision [to terminate] him.”).

          34.     Admit.

          35.     Admit that Chief White issued an order to Officer Nguyen on February 21, 2014,

   stating that “until further notice” Officer Nguyen had “no police authority,” was on “personal

   leave . . . under the direction of Safety Human Resources,” and was to “begin the interactive



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   process with the city.” Ex. 10, Feb. 21, 2014, Order from Chief White to Officer Nguyen. Deny

   that Plaintiff was “plac[ed] on leave pending the completion of the . . . interactive process,” as

   stated by Defendant. Def.’s Mot. Summ. J., SOF, ¶ 35 (emphasis added).

          36.     Admit that Ms. Iversen sent Officer Nguyen a letter describing Defendant’s

   interactive process (“IAP”) and instructing him to submit a Reasonable Accommodation

   Questionnaire (“RAQ”) to his medical provider. Deny that the RAQ required Officer Nguyen’s

   doctor to explain whether he was disabled and, if so, whether any reasonable accommodations

   would allow him to perform the essential functions of his job. Rather, the RAQ instructed

   Officer Nguyen’s doctor “to provide information regarding . . . whether [Officer Nguyen] has a

   physical or mental impairment that substantially limits one or more major life activities,

   including any functional limitations or major bodily functions with limitations associated with

   such impairment(s),” as well as “the impact [Officer Nguyen’s] medical condition on his/her

   ability to work and suggested accommodations that would enable [him] to perform the essential

   functions of his . . position,” a description of which was purportedly attached. Def.’s Mot.

   Summ. J., Ex. 22, at 1.

          While responses to these areas of inquiry may be intended to aid Defendant in

   determining whether an employee is disabled under the ADA, it is less than clear a medical

   provider would understand the purpose of the document as such. Indeed, Officer Nguyen’s

   doctor, Dr. Feehs, testified that he did not realize he was being asked to identify whether Officer

   Nguyen’s hearing loss was substantially limiting; he believed the information requested was

   whether Officer Nguyen’s hearing loss substantially limited “any other[]” major bodily

   functions. Ex. 11, Feehs Dep. 70:13-21, Mar. 30, 2017. Dr. Feehs testified that he “was assuming

   we all understood [Officer Nguyen] had the hearing loss, so [he] didn’t need to say, yes, hearing



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   loss. It’s the whole reason [he] got the form.” Id. at 70:23-25. Dr. Feehs stated he did not

   remember if he read the one plus page of single-spaced definitions provided with the RAQ that

   defined the statutory terms used in the RAQ, and he testified he did not know what any of those

   terms meant or their legal significance. Id. at 54:13-15, 66:18-68:10, 79:23-80:2. He further

   testified that he did not remember seeing a job description attached to the RAQ. Id. at 81:22-

   82:10. In fact, Defendant did not provide to Officer Nguyen’s counsel during discovery or

   provide to the Equal Employment Opportunity Commission (“EEOC”) during this case’s

   administrative proceedings any job description as part of the RAQ packet. The record therefore

   contains no indication that the RAQ was used by Dr. Feehs to explain whether Officer Nguyen

   was disabled and how any such disability affected his ability to perform his job.

          Admit that Ms. Iversen’s letter to Officer Nguyen instructed him to send the completed

   RAQ to the City’s ADA Coordinator.

          37.     Deny. Under the ADA and according to DPD’s written ADA policy, the purpose

   of the IAP is to determine whether a DPD officer “is a qualified individual with a disability

   within the meaning of the ADA; and . . . if so, whether, the officer can be reasonably

   accommodated in his/her position as a Denver Police Officer, or in a vacant Career Service

   Position.” Ex. 12, DPD ADA Policy, at 2. However, as discussed at length below in the

   Statement of Additional Disputed Material Facts and § V.B.2, Defendant’s only purpose in

   entering into the IAP with Officer Nguyen was to make it appear like it complied with its ADA

   obligations. Defendant had already decided to terminate Officer Nguyen by the time the IAP was

   initiated, it had no intention to retain Officer Nguyen as a police officer regardless of Dr. Feehs’

   responses to the RAQ, and it thus in fact had no intention to objectively determine whether

   Officer Nguyen could perform the job of police officer with a reasonable accommodation.



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          38.     Admit that Plaintiff met with Dr. Feehs on March 26, 2014. Dr. Feehs filled out

   the RAQ. Dr. Feehs does not remember whether he recommended that Officer Nguyen see one

   of his practice’s audiologists to discuss hearing aids. Ex. 11, Dr. Feehs’ Dep. 46:19-47:4. Deny

   that Dr. Feehs testified that hearing aids are not within his area of practice.

          39.     Admit that Dr. Feehs’ office sent the completed RAQ to Wilma Springer, DPD’s

   ADA coordinator, and that Dr. Feehs responded to some of the RAQ’s questions as described by

   Defendant. See Def.’s Mot. Summ. J., Ex. 22, at 3-6. Deny that Ms. Springer discussed the

   RAQ with Officer Nguyen. Officer Nguyen testified that he asked Ms. Springer a few specific

   questions such as “if the doctor recommended stronger hearing aids and/or Bluetooth [FreeLinc]

   device or something that helped [him] out in the past, what would happen next?” (to which she

   responded that Defendant would put him “back into work”). Ex. 1, Nguyen Dep. 232:2-233:1,

   241:15-23; 290:4-12. Ms. Springer never explained to Officer Nguyen that based on the RAQ

   responses, Defendant intended to conclude that he was not disabled. See id. at 238:4-8.

          40.     Deny. Ms. Springer ended the IAP, but she did so only after Officer Nguyen’s

   supervisors and the Safety Human Resources Department indicated to her that Officer Nguyen

   was not returning to work as a police officer, regardless of Dr. Feehs’ RAQ responses. In this

   respect, on April 4, 2014, Ms. Springer emailed Ms. Iversen at Safety Human Resources and

   informed her that she had received the RAQ, and Officer Nguyen’s doctor stated he could return

   to work without restrictions. Ex. 13, April 2014 Email String, at 2. She wrote that Officer

   Nguyen’s doctor was “recommending [Officer Nguyen] try new stronger hearing aids, [and] blue

   tooth technology connecting to his hearing aids.” Id. at 3. Ms. Springer further wrote that Officer

   Nguyen was “in the process [of] scheduling his appointment for the ear mold and ordering the

   hearing aids. . . . With the purchase he will have a 45-day trial. I recommend he is assessed



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   during this time to ensure he can perform the essential functions of his job, Police Officer.” Id.

   Ms. Springer did not say anything like Officer Nguyen’s doctor said that that he was not

   disabled or that she intended to so conclude. Indeed, it appeared she believed at that time that he

   was disabled because otherwise there would have been no need to determine whether he could

   perform the essential functions of the job of police officer with the reasonable accommodation of

   using the new hearing aids.

          Notably, Ms. Springer wrote at the bottom of the email: “NOTE: [Officer Nguyen] asked

   if he could be placed in a different district, because he felt that his training Corporal, Kevin

   Ford, will discriminate knowing his disability. He wants the best out of his training, and does

   not feel he will get that from Kevin.” Id. (emphasis added). Although Ms. Iversen forwarded Ms.

   Springer’s email to Deputy Chief Quinones and Deputy Chief Mary Beth Klee, not one of those

   three individuals (Iverson, Quinones, or Klee) responded to Officer Nguyen’s allegation of

   discrimination or took any steps to address it, including by informing the Executive Director for

   the Department of Safety, Stephanie O’Malley. See id. at 2; see also Ex. 14, Iversen Dep. 61:25-

   62:13, 69:16-70:6, Mar. 10, 2017; Ex. 15, Klee Dep. 27:22-28:15, 29:21-30:10, 35:16-36:1, Mar.

   8, 2017; Ex. 9, Quinones Dep. 91:21-24, 93:24-94:9, 100:15-22, 101:6-20; Ex. 16,, O’Malley

   Dep. 31:3-7, 32:4-9, 32:19-20 , Jun. 9, 2017. While Ms. Iversen testified that she felt that it was

   Deputy Chief Klee’s obligation to make inquiries regarding the discrimination allegation, Ex. 14,

   Iversen Dep. 72:2-24. 87:5-88:1, Deputy Chief Klee testified that only if Officer Nguyen “was

   going to go back into the field training program” would it have been incumbent on Defendant to

   investigate the allegation of discrimination, Ex. 15,, Klee Dep. 30:5-10, 31:13-16, 33:19-34:2.

   Similarly, Deputy Chief Quinones testified that he had no obligation to investigate Officer

   Nguyen’s discrimination allegation because he “had already made the decision he was not going



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   to advance.” Ex. 9, Quinones Dep. 92:23-93:5. In other words, because Defendant had already

   made up its mind about terminating Officer Nguyen before initiating the IAP, nothing that

   occurred during the IAP would affect its decision, whether that be an allegation of discrimination

   or a reasonable accommodation recommendation by his doctor.

          Indeed, in forwarding Ms. Springer’s email to Deputy Chief Quinones and Deputy Chief

   Klee, Ms. Iversen wrote: “I recommend a conversation/meeting occur with [Ms. Springer]

   directly so she has a better understanding the hearing issue is more complicated than what is

   being presented by [Officer Nguyen].” Ex. 13, April 2014 Email String, at 2. Deputy Chief

   Quinones responded, “Did she [Ms. Springer] read any of the packet? Set up the meeting, but she

   needs to be up to speed on the issues in the packet and not be relying solely on his side of the

   story. Amazing!!” Id. Ms. Iversen wrote that she would provide Ms. Springer with the packet

   (which is the termination recommendation packet Sergeant Heimbigner prepared) the following

   Monday, but she had already provided her with the cover letter (the termination recommendation

   letter Sergeant Heimbigner wrote). Id.; see also Ex. 9, Quinones Dep. 91:5-9 (explaining

   packet); Ex. 14, Iversen Dep. 88:25-89:4 (explaining cover letter). Ms. Springer denied that she

   ever received either. Ex. 17, Springer Dep. 52:11-15, 53:7-9, 54:7-10, 54:15-20, Jan 27, 2017.

          In fact, Ms. Springer never received any information, or had any discussions with any of

   Officer Nguyen’s training officers or supervisors, regarding Officer Nguyen’s performance

   during FTO, including the numerous, documented issues with his hearing, nor was she ever

   informed that Officer Nguyen’s hearing loss was impacting his job (which certainly begs the

   question how she was supposed to make an informed decision regarding whether he was disabled

   and/or could perform the essential functions of his job with an accommodation). Id. at 13:14-21,

   14:6-11, 16:8-10, 29:17-30:5. For instance, Ms. Springer testified that she was not “aware that



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   [Officer Nguyen’s] training officers in the [DPD] believed that he was not adequately

   performing his job . . . because of his hearing impairment,” despite the fact that she agreed that if

   he had a “hearing impairment that [was] preventing him from adequately doing his job, that

   [was] a disability under the ADA.” Id. at 32:18-33:5. Ms. Springer did even not know that

   Officer Nguyen had a Pre-Employment Medical Agreement (nor had she ever seen a pre-

   employment medical agreement form before), although she agreed that the Agreement “seem[ed]

   to be talking about a reasonable accommodation for a medical condition of hearing loss,” id. at

   72:20-73:4, 80:13-17. She also agreed that the Agreement, as well as Officer Nguyen’s pre-

   employment hearing evaluation record, put DPD on notice that Officer Nguyen possibly was

   disabled. Id. at 83:17-84:5.

          So not only was Ms. Springer, purportedly the sole person who was supposed to be

   responsible for determining whether Officer Nguyen was disabled and entitled to a reasonable

   accommodation, extraordinarily underinformed regarding how his hearing loss substantially

   limited his ability to perform his duties as a police officer, the individuals responsible for

   terminating Officer Nguyen in fact were the ones who made the actual decision what to do with

   the results of the RAQ. As further illustration of this fact, Deputy Chief Klee wrote in response

   to Ms. Iversen’s email: “[D]o we need to make it clear to Officer Nguyen that we are not telling

   him to move forward with those expensive hearing aids? It sounds like [Ms. Springer] indicated

   to him that he could return to work if he got them [and] that concerns me.” Ex. 13, April 2014

   Email String, at 1. And Ms. Iversen, in forwarding to Ms. Springer Deputy Chief Quinones’s and

   Deputy Chief Klee’s responses to Ms. Springer’s original email, explained that “[Deputy Chief]

   Quinones . . . stated clearly to me they will not allow [Officer Nguyen] to return to the position

   of a Police Officer based on . . . all the data in the binder [packet] documenting significant



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   performance concerns. They want to ensure you understand the magnitude of the performance

   failures/gaps.” Id. Deputy Chief Quinones confirmed in his testimony that he did not intend to

   allow officer Nguyen to return to work as a DPD officer, no matter what occurred in the IAP.

   Ex. 9, Quinones Dep. 105:9-106:11.

          Accordingly, Ms. Springer’s decision to conclude the IAP and the determinations she

   made in doing so were not based on Dr. Feehs’ responses to the RAQ; the RAQ merely gave her

   a convenient excuse to comply with Defendant’s decision not to allow Officer Nguyen to return

   to work.

          Deny that Defendant terminated Officer Nguyen because of his performance failures. As

   made clear by the fact, discussed below in the Statement of Additional Disputed Material Facts,

   that other recruits with very similar failures were given numerous second (and sometimes third

   and fourth) chances in remedial training to show they were qualified to be police officers,

   Defendant terminated Officer Nguyen because of his hearing disability.

          41.     Admit that Officer Nguyen saw Dr. Huerta on April 2, 2014, to order new,

   stronger hearing aids (twenty days before the conclusion of the IAP and twenty-one days before

   he was terminated). See Def.’s Mot. Summ. J., Ex. 23, Ex. 25. Admit that Officer Nguyen

   chose a BTE style of hearing aid, to which he had previously been resistant because of his fear

   its visibility would impair him in performing his job. See RSUMF, ¶ 25. Deny that Officer

   Nguyen did not obtain hearing aids that fit him correctly until June or July 2014; Dr. Huerta

   testified that although she had the molds remade several times to obtain the desired fit and

   appearance of the hearing aids, “he was wearing the [new] hearing aids the entire time” (since

   early May), as she did not “have to send in the old mold to get a remake.” Ex. 4, Huerta Dep.

   57:10-15; see also id. at 33:3-21, 40:15-42:21, 54:8-55:4, 56:7-19.



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          42.     Deny. Dr. Huerta testified that with his new hearing aids, there was a chance

   Officer Nugyen would have normal hearing and “the odds are in . . . favor that he would have

   close to normal hearing.” Id. at 90:25-91:11. While she testified that she could not say “how

   much improvement [Officer Nguyen] received from [his] new aid versus [his] old” and she could

   not “quantify . . . how much [his hearing] improved,” she could presume his hearing was better

   because “based on hearing aid capabilities, . . he had access to more sound.” Id. 58:7-10, 70:7-

   21.

          43.     Admit Officer Nguyen’s hearing loss is moderate and Dr. Feehs testified that it

   will get worse as he gets older.2 Deny that Officer Nguyen’s hearing was not tested with his new

   hearing aids, given that Dr. Huerta expressly testified regarding a test she performed on May 7,

   2014, when Officer Nguyen was wearing the new hearing aids. Ex. 4, Huerta Dep. 71:11-72:21;

   see also Ex. 18, May 7, 2014, Real-Ear Verification Test Results.

          44.     Admit that Dr. Feehs testified that he did not know “whether or not, with his

   hearing aids, [Officer Nguyen] was able to hear well enough to be a police officer,” Ex. 11,

   Feehs Dep. 50:19-22, and Dr. Huerta testified that she did not “intend to offer any opinion in this

   case regarding whether [Officer] Nguyen could perform the job of a police officer for . . .

   Denver,” nor was she “qualified to make such an opinion,” Ex. 4, Huerta Dep. 70:25-71:7

   (although Dr. Feehs and Dr. Huerta are certainly qualified to opine whether Officer Nguyen is

   able to hear certain types of sounds that may determine his ability to perform the job).3



   2
     However, predictions about Officer Nguyen’s future hearing ability are irrelevant to this case
   given that, as this Court has explained, “the determination of whether an individual is a qualified
   individual with a disability must be made as of the time of the [adverse] employment decision.”
   Jacobsen v. Dillon Cos., No. 10-cv-01944-LTB-BNB, 2012 U.S. Dist. ELXIS 25019, at *22-23
   (D. Colo. Feb. 28, 2012) (citation omitted).
   3
     It is interesting to note, however, that Defendant states “[n]either Plaintiff’s otologist nor
   audiologist are able to opine as to whether Plaintiff can hear well enough to perform the essential
                                                   20
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           45.    Admit that Officer Nguyen testified at his deposition that he believed he could

   perform the job of police officer when he was terminated from his employment with DPD.

   However, other than an alleged general expectation that Officer Nguyen would be able to

   understand the significance of Dr. Feehs’ responses to the RAQ—i.e., that those responses meant

   Officer Nguyen was not disabled—Defendant did not inquire of Officer Nguyen while he was

   still employed whether he could perform the essential functions of his job without a reasonable

   accommodation, nor offer him any accommodation in response to a determination that he could

   not.4 Officer Nguyen’s after-the-fact beliefs about his abilities are not determinative whether

   Defendant had an obligation to provide him a reasonable accommodation.

    III.    STATEMENT OF ADDITIONAL DISPUTED MATERIAL FACTS (“SADMF”)5

           1.     Since 2008, Officer Nguyen’s dream has been to be a police officer. Ex. 1,

   Nguyen Dep. 41:19-21.

           2.     In 2009, Officer Nguyen graduated from the Basic Law Enforcement Training

   Academy at Community College of Aurora and received his POST certification. Ex. 20, Nguyen

   Resume.



   functions of the job of Denver Police Officer,” Def.’s Mot. Summ. J. 11, considering that this is
   exactly what it admits it asked Dr. Feehs to do when it had him complete the RAQ. See id. at 10
   (“The RAQ is a document in which the doctor must explain . . . whether any reasonable
   accommodations would allow [Plaintiff] to perform the essential functions of his job.”). Indeed,
   according to Defendant, its entire IAP model relies exclusively on the employee’s healthcare
   provider’s determination whether the employee is substantially limited in any major life activity
   and whether he can perform the essential functions of his job. See Ex. 19, Def.’s Resp. to Pl’s
   Disc., at 10, Jan. 24, 2017 (describing the IAP).
   4
     The use of the wired earpiece was not an ADA accommodation DPD provided Officer Nguyen
   because, one, it was not provided in response to a recognition that his hearing disability
   prevented him from performing the essential functions of his job, and, two, nondisabled officers
   used earpieces with their radios as well. See Ex. 22, Urbina’s End of Phase Reports, at 17.
   5
     Context is everything in determining discrimination, which is why a jury is necessary to resolve
   this matter. Additional facts, some disputed and some undisputed, are provided herein as an
   attempt to provide context.
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          3.      In April 2011, Officer Nguyen successfully completed FTO at LSPD and was

   placed into a supervised patrol status. Ex. 2, Lakeside Police Department FTO Records, at 2. As

   discussed above, see RSUMF, ¶ 2, once LSPD purchased a FreeLinc device for him to use with

   his police radio, his ability to hear radio communications increased dramatically. Former LSPD

   Assistant Chief Terry Hughes, who hired Officer Nguyen, attested that Officer Nguyen did not

   have any issues in his job as patrol officer and Assistant Chief Hughes thought he was a “great

   police officer.” Ex. 21, Terry Hughes Declaration, ¶¶ 6, 8.

          4.      Before Officer Nguyen began his job with the DPD, he had a pre-employment

   medical examination, which included evaluation by an audiologist. Based on the evaluation,

   Defendant’s Civil Service Commission (presumably the department in charge of hiring Officer

   Nguyen) was informed that Officer Nguyen had a “history of hearing loss and wears hearing

   aids. He does not meet the Med Tox criteria for hearing without his hearing aids.” Ex. 23, Pre-

   Employment Medical Agreement and Hearing Evaluation, at 1-2.

          5.      Also before beginning his job, Officer Nguyen executed a Pre-Employment

   Medical Agreement in which he acknowledged his “[h]istory of bi-lateral hearing loss and the

   use of bilateral . . . hearing aids.” Id. at 3. Officer Nguyen further acknowledged that “the

   Conditions of Employment listed herein . . . are being offered me by the Denver Department of

   Safety as an accommodation for my medical condition of bi-lateral hearing loss. The

   accommodation is being offered to help ensure that I am able to perform the essential functions”

   of the job of DPD officer. Id. (emphasis added). (Although the “Conditions of Employment,” do

   not appear to have provided Officer Nguyen any “accommodation”; rather, they were conditions

   to which he had to agree to obtain employment. Id. at 4-5.)




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           6.      While his employment could have been terminated at any time in any phase of

   FTO if his training officers or training supervisors were concerned about any unacceptable safety

   risks Officer Nguyen posed to fellow officers, himself, or the public, Officer Nguyen completed

   all four FTO phases. See Ex. 9, Quinones Dep. 48:20-51:1; see also Ex. 24, DPD FTO Manual

   Ch. 4 – Phase Training, at 5 (“[A] recommendation for termination may be made at any time

   during the training program.”).

           7.      Officer Nguyen had many “Significant Strengths” throughout FTO. In Phase 1,

   such strengths included “Situation Management Physical,” which involved obtaining and

   maintaining physical control over resistant suspects/arrestees. in which he showed “at times near

   superior skills and abilities.” Def.’s Mot. Summ. J., Ex. 8, at 1-2. In Phase 2, his training officer

   noted eight categories of significant strengths, including “Officer Safety,” regarding which his

   training officer listed several examples of Officer Nguyen’s competent officer safety practices

   and stated:

           Officer Nguyen's officer safety is good, he is able to foresee possible dangerous
           situations and he uses good tactics when responding to calls. Officer Nguyen is
           able to communicate with other officers on tactical situations and he is aware of
           cover/concealment. . . . Officer Nguyen is aware of his surroundings when
           approaching suspects and he uses proper Arrest Control Techniques. Officer
           Nguyen is aware of suspect’s movements and is quick to conduct a pat-down for
           officer safety. Officer Nguyen maintained control of his prisoners at all times and
           took a position of advantage when controlling prisoners.

   Def.’s Mot. Summ. J., Ex. 9, at 1-4. “Field Performance: Stress Conditions” was one of Officer

   Nguyen’s significant strengths in Phase 3, with his training officer stating that he “performed

   exceptionally” in stressful situations. Def.’s Mot. Summ. J., Ex. 10, at 1-3. The same category

   was listed among Officer Nguyen’s significant strength in Phase 4 as well. Def.’s Mot. Summ.

   J., Ex. 11, at 1-3.




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          8.      However, Officer Nguyen’s training officers also noted their concerns about

   Officer Nguyen’s “documented hearing disability” and how it affected his performance. Def.’s

   Mot. Summ. J., Ex. 10, at 4; see also, e.g., id. at 6; Def.’s Mot. Summ. J., Ex. 8, at 5, 7, 9-10;

   Def.’s Mot. Summ. J., Ex. 11, 5-6, 9-10.

          9.      In addition to Officer Nguyen’s training supervisors, including Sergeant

   Heimbigner, Lieutenant Archer, and Deputy Chief Quinones receiving the DORs and End of

   Phase Reports that noted concerns regarding Officer Nguyen’s hearing, communications among

   these supervisors show that they were well aware of Officer Nguyen’s hearing issues. For

   instance, on December 18, 2013, when Officer Nguyen was in Phase 2, Sergeant Knutson (the

   FTO training coordinator at the Academy) emailed Lieutenant Archer: “[T]he root of almost all

   of [Recruit Officer] Nguyen’s significantly poor performance revolves around his hearing loss. . .

   . There are some serious officer safety risks that have been documented due to his hearing loss. .

   . .” Ex. 25, Dec. 18 2013 Email from Knutson to Archer. On February 2, 2014, in the middle of

   Phase 4, Sergeant Knutson emailed Sergeant Heimbigner that he had “just peaked at [Officer]

   Nguyen’s Phase 4 DORs. Is his performance related to his hearing?” Ex. 26, Feb. 2, 2014 Email

   from Knutson to Heimbigner.

          10.     DPD’s ADA policy provides that “[t]he Department shall engage in the ADA

   interactive process upon notice of a police officer’s need for reasonable accommodation.” Ex.

   12, DPD ADA Policy, at 2 (emphasis added). The policy expressly states that the DPD has

   notice of a police officer’s need for reasonable accommodation—the “duty to engage in the IAP

   is triggered”—either “[w]hen an officer provides notice that he/she needs a reasonable

   accommodation for a physical or mental impairment” or “[w]hen the Department has actual or




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   constructive notice that a police officer may have a disability for which that officer needs a

   reasonable accommodation.” Id. (emphasis added).6

          11.     Yet despite its clear awareness of Officer Nguyen’s hearing issues, Defendant did

   not initiate the IAP until Officer Nguyen spoke with Ms. Iversen after his February 20, 2014,

   meeting with Deputy Chief Quinones in which Deputy Chief Quinones essentially told him he

   was fired; Ms. Iversen determined Defendant needed to initiate the IAP because Officer Nguyen

   told her something like he felt that his performance challenges were due to his hearing. Ex. 14,

   Iversen Dep. 18:7-11, 20:10-20. According to Ms. Springer, Defendant’s ADA Coordinator,

   however, the DPD/Safety Human Resources should have initiated the IAP within twenty days of

   when “there was substantiating indications to indicate that [Officer Nguyen] would need an

   accommodation.” Ex. 17, Springer Dep. 82:24-23, 83:10-16.

          12.     The termination recommendation letter that Sergeant Heimbigner prepared

   confirmed that many of Officer Nguyen’s performance difficulties related directly to his hearing

   disability. Sergeant Heimbigner included many of the observations of Officer Nguyen’s training

   officers from DORs and End of Phase Reports and stated that “[a] second opinion from an

   audiologist confirmed that Officer Nguyen’s hearing aids were the best available for his

   condition and there were no other aids that could improve his hearing.” Def.’s Mot. Summ. J.,

   Ex. 17, at 2-3, 7, 10-11. (However, no DPD employee had ever discussed Officer Nguyen’s

   hearing with an audiologist, and Officer Nguyen never told his training officers that an

   audiologist had said that there were no other aids that could improve his hearing. See RSUMF,




   6
    DPD’s ADA policy states that it is “intended to comport with the requirements of the consent
   decree entered by the U.S. District Court in United States v. City and County of Denver . . . .”
   Ex. 12, DPD ADA Policy, at 1; see also § I.
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   ¶¶ 21, 26.) Sergeant Heimbigner thus concluded, without talking to Officer Nguyen, that Officer

   Nguyen’s hearing disability required his termination:

          This leads me to believe that no amount of training or remedial efforts will bring
          Officer Nguyen up to an acceptable level of performance. . . . The inability to hear
          effectively is a contributing factor to the safety of Officer Nguyen, other police
          officers and the general public.. . . Officer Nguyen’s hearing disability has
          identified a variety of situations that pose risk in many different forms. . . .
          Placing Officer Nguyen in a solo capacity as a patrol officer would pose an
          unacceptable and unnecessary risk to the Denver Police Department and the
          citizens of Denver.. . . There are limited compensating behaviors that can be
          effectively utilized because without acceptable hearing most forms of
          communicating frequently used by police officers will always suffer. . .
          .Continuing Officer Nguyen in the field training and evaluation program would
          not result in a change in performance since the problem cannot be corrected
          medically or through training.

   Def.’s Mot. Summ. J., Ex. 17, at 11. Sergeant Heimbigner did not discuss report writing,

   orientation, or any other performance category in this “Conclusions” section. See id.

          13.     Sergeant Heimbigner also attached a report to his termination recommendation

   letter that listed every entry in Officer Nguyen’s DORs in which he had received a score less

   than four (which was considered “acceptable”) in the category of Radio: Listens and

   Comprehends. Ex. 27, Attachment to Feb 17 2014 Termination Recommendation – Radio

   Listens and Comprehends Sub Fours. Sergeant Heimbigner did not write a “Sub Fours” report on

   any other category such as “Officer Safety,” “Report Writing,” or “Orientation.” Ex. 6,

   Heimbigner Dep. 88:2-14. Sergeant Heimbigner testified that he wrote the “Sub Fours” report on

   “Radio Listens and Comprehends” because “that was the most significant shortcoming [Officer

   Nguyen] had.” Id. at 90:14-25. Sergeant Heimbigner further testified that one of Officer

   Nguyen’s “major deficiencies” was hearing and it was the deficiency that “had the most serious

   concerns that relates to . . . safety,” id. at 15:8-19; that the fact that Officer Nguyen’s hearing

   “was never going to get better” was “a major component” in his decision to recommend



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   termination, id. at 23:9-20; and that the “consistent thread throughout the[] end of phase reports”

   was that “officer safety is at risk with Officer Nguyen’s hearing impairment,” which was “not

   going to get fixed,” id. at 44:5-14. Sergeant Heimbigner added that it was “difficult to predict

   what [Officer Nguyen’s] performance would have been had he had better hearing.” Id. at 45:7-8.

          14.     Deputy Chief Klee agreed in her deposition testimony that Officer Nguyen’s

   “hearing issue . . . cause[d] him problems during training.” Surprisingly, however, when Officer

   Nguyen went to talk to Deputy Chief Klee after his termination, she told him that his termination

   had “little to do with [his] disability” and more “to do with [his] orientation [and] report

   writing.” Ex. 1, Nguyen Dep. 248:22-249:2.

          15.     Other DPD employees who participated in the decision to terminate Officer

   Nguyen’s employment, such as Deputy Chief Quinones and Director O’Malley, similarly

   testified that Officer Nguyen’s hearing issues played a role in his termination. See Ex. 9,

   Quinones Dep. 14:17-21, 15:20-21, 30:2-11, 45:23-4; Ex. 16, O’Malley Dep. 17:7-12.

          16.     Yet despite his supervisors’ belief that his hearing played a significant role in his

   performance deficiencies, the IAP, which supposedly was initiated to determine whether Officer

   Nguyen could perform his job with a reasonable accommodation for his hearing impairment, see

   Def.’s Mot. Summ. J. 10, could not have affected Officer Nguyen’s future with the DPD

   because by the time the IAP concluded, the decisionmakers involved had already recommended

   and approved Officer Nguyen’s termination. Sergeant Heimbigner recommended termination

   February 17; Officer Nguyen’s District Commander, Commander Nagle, approved the

   recommendation February 18, as did Lieutenant Archer on February 19. See Def.’s Mot. Summ.

   J., Ex. 17, at 1, 12. Deputy Chief Quinones approved the recommendation in February 2014,

   before the IAP began. Ex. 9, Quinones Dep. 17:21-24, 75:10-16. And Director O’Malley, “the



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   last signator [sic] relative to the decision-making process,” testified she probably approved

   termination in February as well. Ex. 16, O’Malley Dep. 7:1-2, 62:5-13. Deputy Chief Klee

   testified that the decision to terminate Officer Nguyen had been at made by April 4, 2014, when

   Ms. Springer emailed Ms. Iversen about Officer Nguyen’s intent to purchase new hearing aids.

   Ex. 15, Klee Dep. 39:11-20, 40:18-24; 44:22-45:5, 45:19-25.

          17.     Indeed, Deputy Chief Klee told Officer Nguyen after he was informed of his

   official termination that Defendant “had to sit on the files for several weeks to figure out what to

   do with [him]” Ex. 1, Nguyen Dep. 249:5-6. DPD Internal Affairs Technician Ron Oroskovich

   also told Officer Nguyen, during or right after the February 20 meeting in which he was placed

   on leave, that the Manager of Safety (meaning Director O’Malley) had already signed off on his

   termination. Id. at 267:25-268:22.

          18.     According to Director O’Malley, “if somebody’s terminated, that means they’re

   terminated.” Ex. 16, O’Malley Dep.68:5-6. So, once she approved Officer Nguyen’s termination,

   he could not remain as a police officer with DPD because his employment was over. See id. at

   67:25-68:9. It thus did not matter what determinations were reached during the IAP because

   Defendant had already reached its decision to terminate Officer Nguyen by the time the IAP

   concluded, which occurred on April 22, 2014, the day before Defendant sent Officer Nguyen his

   official termination letter. See Def.’s Mot. Summ. J., Ex. 23 (conclusion of IAP), Def.’s Mot.

   Summ. J., Ex. 25 (termination letter).

          19.     It appears that the results of the IAP were essentially irrelevant to Defendant also

   because even though Dr. Feehs’ RAQ answers were internally inconsistent, no one ever

   contacted him or Dr. Huerta to follow up. For instance, under “[w]hat, if any corrective measures

   . . . are the patient pursuing to address [his] diagnsoed condition(s),” Dr. Feeehs wrote, “Patient



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   is to try new stronger hearing aids.” Def.’s Mot. Summ. J., Ex. 22, at 4. The RAQ then asked,

   “[i]n response to the previous question concerning corrective measures . . . , please specify what,

   if any, of the patient’s life activities and/or major bodily functions are substantially limited by the

   patient’s diagnosed condition(s). Please state if no major life activities or major bodily function

   are substantially limited.” Id. Dr. Feehs responded “none.” And regarding “what reasonable

   accommodations would enable the patient to perform [his] job,” Dr. Feehs wrote “blue tooth

   technology for connecting to with his hearing aids.” Id. at 6. But if an individual is not

   substantially limited in his major life activities or major bodily functions, under the ADA, he is

   not disabled and not entitled to a reasonable accommodation. Despite this indication that Dr.

   Feehs was at least somewhat confused about the RAQ, none of Defendant’s employees ever

   called Dr. Feehs for clarification or to ask him generally about Officer Nguyen’s condition. Ex.

   17, Springer Dep. 25:7-9; Ex. 11, Feehs’ Dep. 71:10-16, 74:15-19. Likewise, Defendant did not

   contact Officer Nguyen’s audiologist, Dr. Huerta. Ex. 4, Huerta Dep. 83:10-13.

          If someone from Defendant had contacted Dr. Feehs, Defendant would have learned that,

   as discussed above, he meant Officer Nguyen had no substantial limitations other than his

   hearing loss. RSUMF, ¶ 36. Had they contacted Dr. Huerta, Defendant would have learned there

   never was “any question . . . [that] James Nguyen had a serious hearing issue” and he “needed

   hearing aids in order to have even close to normal hearing.” Ex. 4, Huerta Dep. 83:2-9.

          20.     Ms. Springer admitted that she did not know whether Dr. Feehs read the

   definitions that accompanied the RAQ, nor did she not call him to follow up, despite that there

   was “some confusion” with Dr. Feehs’ answers. Ex. 17, Springer Dep. 25:7-9, 26:20-23, 61:4-

   19. Rather, because Dr. Feehs “answered the most important part of the questionnaire,” which in

   her opinion was whether Officer Nguyen’s major life activities or major bodily functions were



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   substantially limited, she had enough information “based on the responses” from Dr. Feehs to

   determine Officer Nguyen was not disabled. Id. at 61:25-6, 63:17-20.

          21.     Yet Ms. Springer herself, Defendant’s ADA coordinator, testified that the

   determination how to evaluate whether someone has a disability is “complicated.” Id. at 88:11-

   19. Indeed, she did not know whether under the ADA, in determining whether an impairment

   substantially limits a major life activity, the ameliorative effects of mitigating measures (such as

   hearing aids) should be considered (which they should not). Id. at 86:23-87:17; see also id. at

   29:5-8 (stating that “hearing loss that requires a hearing aid is [not] considered a major

   impairment”). When asked whether it thus is “surprising that the doctor may screw up the [RAQ]

   and not understand how [lawyers] measure a disability even though [the RAQ packet] gives them

   directions on how it’s all done,” Ms. Springer answered, “I hear what you’re saying, but I also

   had [Officer Nguyen] agreeing with the documentation. He had no argument that it should be

   anything different.” Id. at 88:20-89:8.

          22.     Regarding the familiarity of other employees of Defendant with the ADA,

   Corporal Ford testified that the only relevant training he may have had was when he was in the

   Academy; he was never trained regarding what to do if he believed one of his FTO trainees had a

   disability. Ex. 28, Ford Dep. 57:17-23, 81:14-20. Sergeant Heimbigner likewise testified he did

   not have specific training regarding what to do if he was supervising the training of a recruit with

   a disability but “[his] understanding [was] . . . if a person does have a disability, then they would

   reach out to [DPD] and tell [DPD] what that is so [DPD] could assist them.” Ex. 6, Heimbigner

   Dep. 41:1-18. He believed that a determination whether Officer Nguyen had a disability would

   “have occurred during the hiring process.” Id. at 30:10-16.




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          23.     Despite his disability, Officer Nguyen performed well at his police officer job

   with LSPD before he went to work for DPD, and he continues to do so now that he is back at

   LSPD. See Ex. 29, Richard Harris Declaration; Ex. 30, Sam Vecchiarelli Declaration; Ex. 21,

   Terry Hughes Declaration. Much of that success is due to his use of the FreeLinc with his police

   radio. Ex. 21, Richard Harris Declaration ¶ 8; RSUMF ¶ 2.

          24.     Officer Nguyen’s current performance at LSPD is also positively affected by the

   new hearing aids he ordered during the IAP, right before Defendant fired him. Officer Nguyen

   testified that in his experience, the hearing aids he wears now are better than the ones he had

   while working as a DPD officer. Ex. 1, Nguyen Dep. 257:9-12. He testified that the new hearing

   aids transmit sound “better, louder, [and] clearer,” and have features such as volume control that

   his old hearing aids did not have. Id. at 257:24-258:10.

          25.     Dr. Huerta confirmed that Officer Nguyen’s new hearing aids “ha[ve] a lot more

   power, so . . . they were . . . more appropriate for his hearing loss” and they give him more

   volume. Ex. 4, Huerta Dep 93:17-23. Consequently, Officer Nguyen “had access to more

   sound,” and Dr. Huerta presumed he had better hearing ability than he had with his old hearing

   aids, which he verified. Id. at 70:2-21; see also id. at 51:6-12, 51:20-22, 52:2-6. Having better

   access to sound, according to Dr. Huerta, also would “improve[] [Officer Nguyen’s] overall

   ability to interact with people and hear things in his environment.” Id. 87:16-23. She further

   explained that Officer Nguyen’s new hearing aids would be helpful “in distinguishing radio calls

   from background noise or important information being given in a crowd”;

          [H]e’s going to have more environmental awareness. He will be able to hear those
          softer sounds, hearing the radio pick up or the radio go on over here or maybe
          someone walking up behind him. Since he has greater access to all that sound, it
          not only increases—makes it easier to hear speech, but he also has more
          environmental cues [that] he has access to as well.



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   Id. at 89:9-90:5. The new hearing aids thus “definitely improved [Officer Nguyen’s] ability to

   hear.” Id. at 86:25-87.

          26.     Plaintiff’s expert witness, Dan Montgomery, a retired police chief, corroborated

   Dr. Huerta’s testimony regarding Officer Nguyen’s hearing ability when he went on a “ride

   along” with Officer Nguyen at his LSPD job on March 2, 2017. Ex. 3, Dan Montgomery Expert

   Witness Report, at 9. Mr. Montgomery “did not notice any problems whatsoever with [Officer

   Nguyen’s] communication skills in terms of hearing, listening, and conversing.” Id. at 9-10. Mr.

   Montgomery “would talk in very soft tones, sometimes looking out of the right side window

   while [he] was talking, and Officer Nguyen was able to hear [him], understand what [he] was

   saying, and was able to converse.” Id. at 10. On “at least two or three occasions,” when Officer

   Nguyen and Mr. Montgomery were conversing in Officer Nguyen’s patrol car, “Mr.

   Montgomery missed [radio] calls that Officer Nguyen . . . . picked up on. “ Id. Mr. Montgomery

   noted that Officer Nguyen “did not miss any calls.” Mr. Montgomery also described speaking

   loudly while he was walking about 50 to 70 feet behind Officer Nguyen, and Officer Nguyen

   hearing him. Id. Overall, Mr. Montgomery opined that, based on the ride along, his meeting with

   Officer Nguyen’s supervisors at LSPD (including Assistant Chief Vecchiarelli, who “spoke very

   highly of Officer Nguyen’s performance”), and Mr. Montgomery’s experience and expertise in

   the field of policing, Officer Nguyen is “able to perform the essential job functions of being a

   police officer.” Id. at 13. Mr. Montgomery added that Officer Nguyen is “successfully

   performing his duties with the [LSPD] and his hearing disability has been adequately addressed

   with reasonable accommodations in the form of his hearing aids [and] his Bluetooth wireless

   transmitter/receiver [the FreeLinc device].” Id. at 7.




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          27.      However, unlike other recruits from Officer Nguyen’s Academy class who had

   similar performance issues as he did (minus the hearing disability component), Defendant did not

   give Officer Nguyen a full chance to succeed as a DPD officer. For instance, other recruits were

   provided with full two-week (or more) remedial training phases immediately after phases in

   which they had significant performance difficulties. Thus:

                a. Officer Ramirez had a two-week remedial training phase in the middle of Phase 4
                   after struggling with, among other things, “Report Writing,” “Officer Safety”
                   and “Radio: Listens and Comprehends” in Phase 3. Ex. 31, Ramirez End of
                   Phase Reports, at 6-7, 9.

                b. Officer Urbina had a two-week remedial training phase after Phase 3 after failing
                   to meet the training requirements in each of the previous three phases in “Officer
                   Safety” and “Situation Management.” Ex. 22, Urbina’s End of Phase Reports, at
                   31.

                c. Officer Yballa had a two-week remedial training phase in the middle of Phase 2 to
                   “immediately improve” in the areas of “Acceptance of Feedback,” “Orientation,”
                   “Routine Forms,” and “Report Writing.” Ex. 32, Yballa’s End of Phase
                   Reports, at 11.

                d. Officer Young had a two-week remedial training phase after Phase 3 because
                   throughout the phase, he had maintained unacceptable scores in “Knowledge of
                   Department Policies and Procedures,” “Routine Forms,” “Report Writing,”
                   “Self Initiated Field Activity,” and “Orientation.” Ex. 33, Young’s End of Phase
                   Reports at 18-20.

                e. Officer Morales had a two-week remedial training phase during Phase 3 after
                   struggling with “Field Performance: Stress Conditions,” “Orientation/Response
                   Time to Calls,” and “Officer Safety.” Ex. 34, Morales’ End of Phase Reports, at
                   33-38. Officer Morales then received a second two-week remedial training phase
                   after he continued to struggle in those areas. Id. at 41. When he still failed to
                   perform acceptably, he was given a third two-week remedial training phase
                   because his training supervisors had “great[] concern” regarding his performance
                   in “Officer Safety,” “Decision Making,” and “Field Performance.” Id. at 41-61.

                f. Officer Ross had a seven-day remedial training phase after Phase 2 to reach “an
                   acceptable level of performance” in “Knowledge of Department Policies and
                   Procedures,” “Routine Forms,” “Report Writing,” and “Orientation.” Ex. 35,
                   Ross’s End of Phase Reports, at 7.




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                g. Officer Quintanilla had a two-week remedial training phase after Phase 4 for
                   additional training on “Officer Safety,” “Situational Awareness,” “Problem
                   Solving,” and “Decision Making.” Ex. 36, Quintanilla End of Phase Reports, at
                   22.

                h. Officer Saunier had a two-week remedial training phase after Phase 3 because of
                   “demonstrated deficiencies” in “Departmental Procedure and Policies,”
                   “Orientation,” “Report Writing,” and “Officer Safety.” Ex. 37, Saunier’s End
                   of Phase Reports, at 14.

                i. Officer Eret had a two-week remedial training phase after Phase 3 because he was
                   “having serious problems in areas which will directly affect his performance,
                   safety and ability to perform as a solo police officer.” Ex. 38, Eret’s End of Phase
                   Reports, at 17. These areas included “Route Forms” and “Report Writing” (his
                   training supervisor noted that Officer Eret “had several instances where his
                   paperwork would have led to dismissal of a charge against an offender”), as well
                   as “Officer Satiety.” Id. at 17-18. Officer Eret then received a second two-week
                   remedial training phase because of difficulties in areas such as “Routine Forms,”
                   “Report Writing,” and “Officer Safety.” Id. at 19-23.

                j. Officer Botello had a two-week training phase after Phase 2 due to not meeting
                   training requirements in several categories, with the areas of greatest concern
                   including “Situation Management,” “Driving,” “Radio: Listens and
                   Comprehends,” and especially, “Officer Safety.” Ex. 39, Botello End of Phase
                   Reports, at 24-25.

                k. Officer Sheppard had a two-week training phase after Phase 2 for “maintain[ing]
                   unacceptable scores in the areas of “Knowledge of Department Policies and
                   Procedures,” “Routine Forms,” and “Report Writing.” Ex. 40, Sheppard’s End
                   of Phase Reports, at 28. Officer Shepperd received a second remedial training
                   phase because of his “lack of progress” in his first remedial training phase and his
                   unacceptable scores in that phase in the areas of “Routine Forms,” “Report
                   Writing,” “Investigative Skill” “Interview/Interrogation Skill,” and “Officer
                   Safety.” Id. at 26-27.

                l. Officer Davis had a two-week training phase after Phase 3 to address his
                   shortcomings in, among other things, “Routine Forms,” “Report Writing,” and
                   “Orientation and Response Time to Calls,” which had been “an extreme
                   challenge.” Ex. 41, Davis End of Phase Reports, at 21-24. Officer Davis had a
                   second remedial training phase after the first due to unacceptable scores in
                   “Knowledge of Department Policies and Procedures,” “Self Initiated Field
                   Activity,” “Officer Safety” and “Orientation.” Id. at 26-30.

          28.      Each of the above officers successfully completed FTO and moved into a solo

   patrol capacity after their remedial training phases, despite the fact that their End of Phase

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   Reports show that many had had significant weaknesses very similar to those for which

   Defendant claims Officer Nguyen was fired. For instance:

             a. Regarding Officer Ramirez:

                       •   He “would occasionally enter inaccurate information” and omit
                           necessary information on routine forms and reports, Ex. 31, Ramirez’s
                           End of Phase Reports, at 6-7;
                       •   He was often “very slow to complete his reports,” id.;
                       •   “On one occasion, he failed to order a party to show their hands which
                           were concealed behind them, “id.;
                       •   He let “stopped pedestrians mill about whilst he did MDT data entry,”
                           id.; and
                       •   “Oftentimes, he demonstrated that he did not listen to and comprehend
                           radio traffic” as he “occasionally missed his call sign,” “sometimes did
                           not notice when another car was dispatched to his location or one very
                           nearby,” “[w]hen quizzed, . . . frequently could not tell the content of the
                           last transmission aired,” and “sometimes ignored or did not hear the
                           dispatcher calling for cars on high priority calls,” id.

             b. Regarding Officer Urbina:

                       •   She had problems with orientation and response times to calls and at
                           times “was unable to respond to calls in an appropriate amount of time
                           and put herself and others’ safety in jeopardy,” Ex. 22, Urbina’s End of
                           Phase Reports, at 3, 11, 22;
                       •   She “did not take control of [the] movements” of suspects and
                           suspicious parties, including a “dangerous subject[] id. at 4,10, 16-17;
                       •   “[O]n several occasions [she] did not recognize an officer safety hazard
                           and placed herself as well as her cover officer’s safety in jeopardy,” id.;
                       •   She “periodically demonstrated an inability to compete repots in an
                           acceptable timeframe,” id. at 9, 23;
                       •   She had “trouble maintaining control or making decisions under stressful
                           conditions” and would “freeze up” or become “‘paralyzed’ by inaction,”
                           which sometimes entailed placing herself, her training officer, and other
                           officers at risk, id. at 9-10, 23, 29;
                       •   She demonstrated unacceptable performance in the area of officer safety,
                           id. at 4, 10;
                       •   One time when contacting two suspicious parties, she ignored one while
                           talking to the other, and even though the one she ignored had jammed
                           his hands in his pockets, she made no attempt to give additional orders
                           or have him remove his hands from his pocket, id. at 10;
                       •   She did not attempt to pat-down or control the movements of a suspect
                           who she had been advised had an “extensive known criminal history,”
                           was “armed with a knife,” and “had threatened to “cut out” the victim’s

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                       uterus,” and instead “she allowed him to keep his hands in his pockets,”
                       id. at 11;
                   •   She let another suspect time reach into his pant pocket “completely
                       ignor[ing] the potential danger/threat signs,” and her training officer had
                       to tell her “to request cover and get her Taser ready,” id. at 17;
                   •   When the owner of a suspicious unoccupied vehicle walked up “with his
                       hands inside of his pockets,” she “never told [him] to remove his hands
                       from his jacket,” id.;
                   •   She “displayed a weakness when it came to listening to radio traffic
                       especially if she was doing something else,” she missed “tone alerts,
                       calls of serious nature or information from other districts, and calls in
                       her own district,” and “on one occasion,” she did not hear a radio
                       transmission involving “a stolen vehicle that was involved in a hit and
                       run,” id. at 17, 24;
                   •   She had difficulty completing routine forms and “[o]ften times, . . . she
                       completely left the necessary information out (blank),” id. at 16, 22-23;
                       and
                   •   She “demonstrated significant weaknesses in regards to her searches of
                       prisoners” in Phase 4 and conducted an improper search where later a
                       knife was found on the suspect, id. at 29.

           c. Regarding Officer Yballa:

                   •   He demonstrated significant weakness in “Routine Forms: Accuracy and
                       Completeness,” Ex. 32, Yballa End of Phase Reports, at 1, 3, 10;
                   •   He demonstrated significant weakness in Report Writing:
                       Organization/Details, “often omitting pertinent details,” id.; and
                   •   “It would take [him] two or three times the amount of time a non-
                       probationary officer would take to complete a simple report,” id. at 4.

           d. Regarding Officer Young:

                   •   He had difficulty completing forms that were accurate and complete,
                       including not completing “missing person details in a runaway report,”
                       Ex. 33, Young’s End of Phase Reports, at 2, 6, 10, 13, 13;
                   •   He “took an exceptionally long time to complete reports,” id.;
                   •   He had “some difficulty taking the most direct route to calls” and “[o]n a
                       few occasions had no idea how to get to calls and had to be directed
                       there by [his training officer],” id. at 10; and
                   •   He struggled with “Officer Safety” in Phase 4, id. at 17.

           e. Regarding Eric Morales:

                   •   He had trouble with orientation and “didn’t always take the most direct
                       route to calls,” including incidents in which he went the wrong way, Ex.
                       34, Morales’ End of Phase Reports, at 5;

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                   •   He had trouble with accuracy on reports and omitted necessary
                       information, including information provided by victims and witnesses,
                       id. at 5, 9-10; and
                   •   He had significant problems with “Officer Safety,” including one
                       incident in which he “failed to gain control (verbally) of a domestic
                       violence suspect who was reportedly armed with a gun” and was
                       “standing between [him and his training officer] and the crying victim
                       (who was seated on the stairs behind him),” id. at 10-11, 15, 19-20.

           f. Regarding Officer Ross:

                   •   He struggled with “Routine Forms” regarding accuracy and completion,
                       would “skip boxes or even lines of information on his paperwork,” and
                       omit “key details,” Ex. 35, Officer Ross’s End of Phase Reports, at 5, 8,
                       12;
                   •   He demonstrated “an inability to organize his thoughts [in] his reports”
                       and many times his narratives, probable cause statements, and officer
                       statements did not contain “enough information to support the crime in
                       which he was charging,” id. at 5, 9;
                   •   His reports were often “plagued with spelling and grammatical errors,”
                       id. at 2, 5; and
                   •   He took “a substantial amount of time to complete the simplest of
                       reports” and took over twice as long as he should have on a report in
                       Phase 4; id. at 5, 12, 17.

           g. Regarding Officer Quintanilla:

                   •   He struggled with radio listening and one of his greatest weaknesses in
                       multiple phases was missing when dispatch was attempting to call him
                       and not hearing important information when responding to a location
                       such as the description of a suspect, details of the complaint, or where
                       his fellow officers were, Ex. 36, Quintanilla’s End of Phase Reports, at
                       3, 9;
                   •   In his remedial training phase after Phase 4, “[o]n two separate
                       occasions, [Officer] Quintanilla failed to hear or comprehend and react
                       accordingly to critical calls for assistance” and “[b]oth calls involved
                       officer safety concerns/issues,” id. at 24;
                   •   He had an incident in which he was responding to a suspicious vehicle
                       call and after entering the parking lot that was the location of the call, he
                       “did not notice, nor was he looking for” the vehicle that was the subject
                       of the call, such that he was driving toward the suspects when his
                       training officer alerted him to the fact that that was probably the vehicle
                       they were looking for (and the driver was later found with a handgun on
                       the floor of the front seat), id.:
                   •   He displayed significant weakness in orientation and response time to
                       calls, id. at 7;

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                   •   He would miss necessary information and crucial details and
                       observations in gathering information for routine forms and struggled
                       with including important details in his reports, id. at 8, 12;
                   •   He consistently took three times as long to complete his reports
                       compared to a veteran patrol officer, id. at 13; and
                   •   He had difficulty practicing acceptable officer safety especially when
                       dealing with suspects (including failing to control their movements)
                       and/or approaching target locations, and in Phase 4, “his mistakes were
                       so potentially dangerous the Training Officer had to intervene. . . . Not
                       only was he placed in a bad position, the Training Officer and General
                       Public were also,” id. at 9, 13, 19-20;

           h. Regarding Officer Saunier:

                   •   He struggled with report writing and completing routine forms
                       accurately and completely and some of his narratives lacked important
                       details, Ex. 37, Saunier’s End of Phase Reports, at 3, 8, 11, 21;
                   •   He had issues with officer safety, including letting suspects get behind
                       him, which left his gun side exposed, and failing to control suspects’
                       movements, id. at 12, 16, 20; and
                   •   He struggled with orientation and response time to calls and on one
                       occasion was unsure of his location after stopping to speak with a
                       transient in an alley and on another he went the wrong way when
                       proceeding to a call, id. at 16;

           i. Regarding Officer Eret:

                   •   He had problems finding addresses he was dispatched to and taking the
                       most direct route, Ex. 38, Eret’s End of Phase Reports, at 1, 4;
                   •   He had difficulty choosing the correct forms and accurately completing
                       them, he would leave out important information in forms and reports,
                       including omitting location of offense, venue, and identification of all
                       parties involved in probable cause statements, and one time he failed to
                       include the victim’s identification of the suspect id. at 1, 4, 6-7, 9-10;
                   •   He spent unnecessary time on simple reports, id. at 7; and
                   •   He had some officer safety issues “which placed his life/safety as well as
                       that of his training officer in danger,” including letting a suspect in a
                       vehicle he had stopped reach first under the front side of the passenger
                       seat and then around to the back of the front passenger seat, id. at 1-2, 7,
                       11-12;

           j. Regarding Officer Botello:

                   •   She displayed significant weaknesses in filling out routine forms
                       accurately and completely and writing reports containing the required
                       information, Ex. 39, Botello’s End of Phase Reports, at 2;

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                   •   She struggled with listening and comprehending the radio and would not
                       hear the nature, location, or important details of a call, id. at 3, 19;
                   •   She struggled with field performance under stress and non-stress
                       situations and her performance difficulties would be compounded when
                       she did not know how to get to a location of a call, leading her to lose
                       sight of her officer safety skills id. at 5-6, 13, 18-19;
                   •   She demonstrated significant weakness in officer safety and had various
                       officer safety failures such as repeatedly not being aware of her
                       surroundings and failing to properly pat-down or search suspects and
                       allowing them to put their hands in their pockets, id. at 2-3, 6-7, 22-23;
                       and
                   •   She had an incident in which she presented a violent felony offender
                       with the opportunity to grab her gun, another in which she made no
                       attempt to pat down a suspect for weapons and at one point during the
                       contact the suspect “reached his hands into his pockets and fiddled
                       around for a moment” and she “had no reaction to the movement and did
                       not even appear to notice,” and yet another in which she let a subject
                       keep his hands inside his pockets the entire time she spoke with him, id.
                       at 7, 23, 25.

           k. Regarding Officer Sheppard:

                   •   He had problems with orientation and response time to calls including
                       constantly not knowing what direction he was traveling in and passing
                       addresses/locations of calls without knowing he had done so, Ex. 40,
                       Sheppard’s End of Phase Reports, at 2, 4;
                   •   He struggled with completing routine forms accurately and completely,
                       “would spend an inordinate amount of time” writing his reports and
                       “showed great deficiency regarding the amount of time he needed to
                       complete the most basic reports” during Phase 4, would leave out
                       pertinent information and detail in reports such as “who, what, why,
                       where, when, and how the crime took place,” and had spelling and
                       grammar errors that “actually change[d] the meaning of what had
                       occurred,” id. at 2, 4-6, 10, 16, 20, 24-25;
                   •   He completed an assault report in which he did not include “anything
                       that was told to him by the victim,” id. at 20;
                   •   He struggled with interviewing and investigation including not obtaining
                       and recording all the necessary information and details he needed when
                       interviewing someone which sometimes resulted in not having important
                       details necessary for the charge or the prosecution of the crime, id. at 6,
                       10, 16; and
                   •   He had issues with officer safety and among other things “made several
                       contacts and non-custodial arrests without completing a pat down search
                       of suspects,” which occasionally resulted in him missing that the suspect
                       had items like “nail clippers,” “a 9 mm round,” and a “folding knife,” id.
                       at 6-7, 11, 16-17, 27

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                l. Regarding Officer Davis:

                        •   He had difficulty with orientation and response time to calls, including
                            being unable to find the locations of calls, having no idea where he was
                            or where he was going, and driving in the opposite direction of the call,
                            Ex. 41, Davis’s End of Phase Reports, at 2, 7, 11-12;
                        •   He took too long (an “exorbitant amount of time”) writing his reports
                            and on occasion left out facts and information in reports and routine
                            forms, id. at 8, 21; and
                        •   He had issues with officer safety including making many mistakes
                            during his searches and processing of suspects and possible suspects and
                            being unaware of his surroundings and potential dangers, id. at 8, 12-13,
                            27.

          Thus, as shown from these other recruits’ struggles during FTO, many had very similar

   performance problems as Officer Nguyen, including report writing, orientation, and officer

   safety issues, yet not one of them was terminated from the program.

          29.      The other recruits’ reports also make clear that report writing, despite how

   Defendant has attempted to portray it, is not of supreme importance in determining the future of

   a recruit. For instance, a training officer wrote that he explained to one of his trainees: “Officer

   Safety is paramount and . . . report writing will not necessarily get [someone] killed. . . . [R]eport

   writing is something that . . . continually improve[s] with time and experience.” Ex. 32, Yballa’s

   End of Phase Reports, at 10; see also Ex. 35, Ross’s End of Phase Reports, at 17 (“[T]here is a

   limited amount of Remedial Efforts to correct [a] weakness [in Routine Forms: Appropriate

   Time Used],” and “[f]or the most part, it will simply be remedied through exposure and

   experience, which [the officer] will just have to encounter as he progresses in his first year as a

   police officer.”); Ex. 40, Shepperd’s End of Phase Reports, at 25 (Although the recruit was

   recommended to advance to a solo patrol capacity, “[s]pecial attention needs to be paid to

   correcting his reports before they are turned in for approval and closely checked by a

   supervisor.”). Officer Nguyen’s supervisors confirmed in their deposition testimony that report

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   writing and orientation are learned skills that improve with time, and report writing is not as

   important as officer safety. See Ex. 9, Quinones Dep. 35:5-25; Ex. 28, Ford Dep. 34:10-12; Ex.

   6, Heimbigner Dep. 16:2-14, 33:21-34:9.

           30.     While, nevertheless, Defendant in its Motion for Summary Judgment has used

   Officer Nguyen’s struggles with report writing and orientation as a main justification for why his

   termination did not violate the ADA, Defendant did not make any argument that Officer

   Nguyen’s termination did not violate the ADA because he is not disabled. Its failure to do so is

   notable not only because of its determination immediately before firing Officer Nguyen that he

   was not disabled and thus it did not have to provide him any reasonable accommodation, but also

   because this was one of its main defenses in the EEOC proceedings. See Ex. 42, Defendant’s

   EEOC Position Statement, at 6. In its Answer in this litigation, on the other hand, Defendant

   admitted the allegations of the Complaint that stated Officer Nguyen “is an individual with a

   disability within the meaning of all applicable statutes, including Section 504 of the

   Rehabilitation Act . . . and the [ADA].” Ex. 43, Defendant’s Answer, at 3. But then, in other

   sections of the Answer, Defendant stated it has “insufficient information to admit or deny the

   allegations” of the Complaint that allege Officer Nguyen was a qualified individual with a

   disability because, according to Defendant, Officer Nguyen’s “physician stated . . . on the [RAQ]

   that [Officer Nguyen] did not have any major life activities that were substantially limited by his

   hearing.” Id. at 15, 18.

           31.     The EEOC, however, was not persuaded by Defendant’s argument that Officer

   Nguyen is not disabled and found that “there is reasonable cause to believe there [was] a

   violation of the ADA in that [Defendant] denied [Officer Nguyen] a reasonable accommodation

   and discharged [him].” Ex. 44, EEOC Cause Finding, at 1. The EEOC emphasized that



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   Defendant denied Officer Nguyen the reasonable accommodation recommended by Dr. Feehs in

   the RAQ and terminated him because of performance deficiencies, some of which were related

   to his hearing. Id. at 3.

                                  IV.     STANDARD OF REVIEW

           Summary judgment is only proper if the moving party shows both that there is no

   genuine issue of material fact and that the moving party is entitled to judgment as a matter of

   law. Bones v. Honeywell Int’l, Inc., 366 F.3d 869, 875 (10th Cir. 2004). This Court must view all

   evidence in a light most favorable to the nonmoving party and draw all reasonable inferences in

   that party’s favor. Jacobsen, 2012 U.S. Dist. LEXIS 25019, at *5 (Babcock, J.). If “a reasonable

   jury could return a verdict” for the nonmoving party, summary judgment must not enter. Id.

   “Where different ultimate inferences may be drawn from the evidence presented by the parties,

   the case is not one for summary judgment.” Brown v. Parker-Hannifin Corp., 746 F.2d 1407,

   1411 (10th Cir. 1984).

                                           V.    ARGUMENT

           To establish a prima facie case of discrimination under Title I of the ADA, a plaintiff

   must show: (1) he is disabled within the meaning of the ADA; (2) he is qualified, with or without

   reasonable accommodation, to perform the essential functions of the job held or desired; and

   (3) he was discriminated against because of his disability. Osborne v. Baxter Healthcare Corp.,

   798 F.3d 1250, 1266 (10th Cir. 2015).7 Because disputed factual issues exist as to whether



   7
    With one exception, Plaintiff agrees with Defendant that decisions under both the ADA and
   Rehabilitation Act apply to this case interchangeably. See Def.’s Mot. Summ. J. 12 n.5.
   However, while the Rehabilitation Act requires a plaintiff to prove he was discriminated against
   “solely” because of his disability to obtain relief, courts do not interpret the ADA to impose a
   “sole-cause liability scheme.” McNely v. Ocala Star-Banner Corp., 99 F.3d 1068, 1074-77 (11th
   Cir. 1996) (determining that the Rehabilitation Act’s “sole-cause liability” requirement does not
   apply to the ADA and explaining that the 10th Circuit has not addressed the issue). Rather,
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   Officer Nguyen is a qualified individual and whether Defendant discriminated against him by

   unlawfully failing to provide him a reasonable accommodation and terminating him because of

   his disability, Officer Nguyen’s ADA and Rehabilitation Act discrimination claims may not be

   summarily judged.8

      A. OFFICER NGUYEN IS A DISABLED INDIVIDUAL UNDER THE AMERICANS
         WITH DISABILITIES ACT.

          Congress amended the ADA in 2008 “to make it easier for people with disabilities to

   obtain protection under the [Act],” 29 C.F.R. § 1630.1(c)(4), and thus “[t]he definition of

   disability in [the ADA must] be construed in favor of broad coverage,” 42 U.S.C. §12102(4)(A).

   Whether an individual “meets the definition of disability . . . should not demand extensive

   analysis,” as “[t]he primary object of attention in cases brought under the ADA should be

   whether covered entities have complied with their obligations and whether discrimination has

   occurred,”29 C.F.R. § 1630.1(c)(4).




   courts have held that the ADA requires a plaintiff to show merely that the plaintiff’s disability
   made “the difference in the employer’s decision” (“but-for” cause), id. at 1077, or that it “played
   a motivating role” in the decision, Parker v. Columbia Pictures Indus., 204 F.3d 326, 336-38 (2d
   Cir. 2000); see also Lewis v. Humboldt Acquisition Corp., 681 F.3d 312 (6th Cir. 2012);
   Spychalsky v. Sullivan, 2003 U.S. Dist. LEXIS 15704, at *19 (E.D.N.Y. Aug. 29, 2003).
   Because, as shown throughout this Response, there are disputed issues of material fact regarding
   whether Defendant fired Officer Nguyen “solely” because of his disability, summary judgment
   may not be granted on either his Rehabilitation Act claim or his ADA claim.
   8
     Defendant repeatedly contends that Officer Nguyen cannot “prove,” “establish,” or “show”
   elements of his claims. See, e.g., Defs.’ Mot. Summ. J., 15-16, 29. But Officer Nguyen is not
   required to “prove” the elements of his claims at the summary judgment stage; rather, he must
   establish only that genuine issues of material fact remain, and that a reasonable jury could infer
   from the disputed facts that he is able to prove his claims. See Carr v. Castle, 337 F.3d 1221,
   1229 n.9 (10th Cir. 2003) (“In the summary judgment context, of course, [the plaintiff’s] burden
   is only that of creating reasonable inferences, not one of proof as such.”). Whenever this
   Response employs such terms, it should be understood as denoting this “lesser burden of creating
   reasonable inferences, not the actual burden of persuasion.” Id.


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           The ADA defines “disability” as, among other things, “[a] physical or mental impairment

   that substantially limits one or more major life activities of [an] individual.” 42 U.S.C.

   § 12102(1)(A). “[M]ajor life activities include . . . hearing,” 42 U.S.C. § 12102(2)(A), and “[a]n

   impairment that substantially limits one major life activity need not limit other major life

   activities in order to be considered a disability,” 42 U.S.C. § 12102(4)(B). Critically, “[t]he

   determination of whether an impairment substantially limits a major life activity shall be made

   without regard to the ameliorative effects of mitigating measures such as . . . hearing aids.” 42

   U.S.C. § 12102(4)(E)(i)(I).

           The EEOC has added to these legislative mandates that consistent with the ADA’s focus

   on whether employers have complied with their obligations and whether discrimination has

   occurred, “the threshold issue of whether an impairment ‘substantially limits’ a major life

   activity should not demand extensive analysis.” 29 C.F.R. § 1630.2(j)(1)(iii). “[A]n impairment

   is a disability . . . if it substantially limits the ability of an individual to perform a major life

   activity as compared to most people in the general population. An impairment need not prevent,

   or significantly or severely restrict, the individual from performing a major life activity in order

   to be considered substantially limited.” 29 C.F.R. § 1630.2(j)(1)(ii). Usually, comparing the

   individual’s ability to perform a major life activity to that of most people in the general

   population “will not require . . . medical . . . analysis.” 29 C.F.R § 1630.2(j)(1)(v).

           Properly applying these definitions and rules of construction, it is impossible to dispute

   that Officer Nguyen is disabled. Without hearing aids, his ability to hear—a major life activity in

   itself—is substantially limited as compared to most people in the general population. See, e.g.,

   RSUMF, ¶¶ 1, 44; SADMF, ¶¶ 4-5, 19. The more difficult question is why, even just considering

   Officer Nguyen’s pre-employment hearing evaluation and Pre-Employment Medical Agreement



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   and the anecdotal evidence of his hearing issues that was provided by his training officers during

   FTO, Defendant needed a doctor to make the legal determination that Officer Nguyen was

   disabled? See RSUMF, ¶¶ 22, 27, 30, 33, SADMF, ¶¶ 8-9, 12-13. Likewise, it is difficult to

   understand why Defendant relied exclusively on Dr. Feehs’ RAQ answers to conclude that

   Officer Nguyen was not disabled, given that those answers were internally inconsistent, never

   clarified by Ms. Springer or any other employee of Defendant, and entirely contradicted the

   comprehensive records Defendant had amassed during FTO showing that Officer Nguyen’s

   hearing loss was a disability under the ADA—including the observations of Sergeant

   Heimbigner in his termination recommendation letter that Officer Nguyen’s hearing impairment

   would be a major concern if his training were allowed to continue. See id.; see also RSUMF,

   ¶ 41, SADMF, ¶¶ 19-20. The absurdity of concluding that Officer Nguyen did not have a hearing

   disability while at the same time terminating him due, at least in very substantial part, to

   performance difficulties that were related to his hearing impairment raises a disputed factual

   issues whether Defendant participated in the Interactive Process in good faith (discussed below,

   see § V.B.2.b), or instead conveniently used Dr. Feehs’ plainly ADA-ignorant responses to the

   RAQ to avoid providing Officer Nguyen a reasonable accommodation and proceed with his

   termination despite knowing he was disabled.

          The authority Defendant cites to support its argument that it was entitled to rely on Dr.

   Feehs’ assertion that Officer Nguyen was not disabled (though, as discussed above at RSUMF

   ¶ 36, Dr. Feehs never actually made such an assertion), see Def.’s Mot. Summ. J. 27-28, is

   inapplicable to this determination. For instance, in Bailey v. City of Englewood, No. 13-cv-

   01715-RM-NYW, 2015 U.S. Dist. LEXIS 89847, at *25-26 (D. Colo. July 10, 2015), the

   plaintiff never gave to his medical provider a letter from defendant seeking information relating



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   to his disability and what limitations the plaintiff’s condition imposed on his work, nor did the

   plaintiff provide the defendant with any medical evaluations. “The record [was] thus devoid of

   objective medical evidence that [the plaintiff] had any restrictions on his ability to work due to

   his disabilities.” Id. at *26. The same facts were present in Turner v. City & Cty. of Denver, No.

   10-cv-00583-PAB-KMT, 201 U.S. Dist. LEXIS 45419, at *3, 9-10 (D. Colo. 27, 2011), in which

   the plaintiff never provided the defendant any medical information regarding his condition

   (including failing to return to the defendant a completed RAQ). See also Templeton v. Neodata

   Servs., 162 F.3d 617, 618-19 (plaintiff refused to provide medical information regarding her

   ability to work in response to a reasonable request for such from her employer).

          Here, however, Officer Nguyen provided Defendant with the completed RAQ, which was

   in addition to the pre-employment medical evaluation information Defendant already had

   regarding his hearing impairment. See SADMF, ¶¶ 4-5. As the Third Circuit explained in a

   similar situation, “if the note [from the plaintiff’s doctor] was too ambiguous and [the employer]

   did not know what [reasonable accommodation the plaintiff] wanted, [the employer] easily could

   have called [the doctor] for a clarification.” Taylor v. Phoenixville Sch. Dist., 184 F.3d 296, 315

   (3d Cir. 1999) (citation omitted). Indeed, DPD’s ADA policy provides authority to Defendant to

   obtain information regarding an officer’s medical condition beyond that which is submitted in

   the RAQ: “In making the determination that an officer has a disability . . . and any resulting

   limitations, [Defendant] . . . may request and review medical records and other documentation in

   the possession, custody, or control of the officer . . . or his/her health care providers.” Ex. 12,

   DPD ADA Policy, at 2. Officer Nguyen’s Pre-Employment Medical Agreement also provided

   explicit authorization for Defendant to obtain, “upon request, . . . full access to the medical

   records related to his hearing condition.” Ex. 23, Pre-Employment Medical Agreement and



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   Evaluation, at 4. Under these circumstances, it is incorrect to conclude that Officer Nguyen

   “fail[ed] to provide medical information necessary to the interactive process” and thus is

   “preclude[d] . . . from claiming that [Defendant] violated the ADA.” Bailey, 2015 U.S. Dist.

   LEXIS 89847, at *25-27.

          Moreover, even assuming Officer Nguyen told Ms. Springer he agreed with Dr. Feehs’

   responses (and Officer Nguyen disputes that he did so, see RSUMF ¶ 39), Defendant’s attempt to

   therefore place the failure of the IAP on him for not disputing the RAQ responses is inconsistent

   with the law and common sense. The law “squarely place[s] some of the burden” of the IAP on

   the employer. Taylor, 184 F.3d at 315. Relying entirely on Officer Nguyen, who may have no

   familiarity with the law or the ADA, to refute Dr. Feehs’ responses places the burden entirely on

   him and lets Defendant “simply sit back passively” and do nothing, even in the face of the absurd

   result arrived at in this case. Id. As shown by the fact that Defendant’s ADA coordinator herself

   did not know how to apply the definition of “disability” and thought the determination was

   “complicated,” the contention that Defendant is excused from all liability because Officer

   Nguyen “had no argument that [the RAQ] should be anything different,” SADMF, ¶ 21, does not

   comport with “interactive dialogue” envisioned by the ADA, Smith v. Midland Brake, Inc., 180

   F.3d 1154, 1172 (10th Cir. 1999).

          Accordingly, Officer Nguyen is an individual with a disability under the ADA and

   Rehabilitation Act, and a jury might well believe that Defendant’s conclusion otherwise during

   the IAP violated its obligation to participate in the IAP in good faith participation. See id.




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      B. OFFICER NGUYEN WAS QUALIFIED WITH A REASONABLE
         ACCOMMODATION TO PERFORM THE ESSENTIAL FUNCTIONS OF DPD
         POLICE OFFICER.

          A two-part analysis determines whether an individual is qualified to perform the essential

   functions of his job, with or without a reasonable accommodation. White v. York Int'l Corp., 45

   F.3d 357, 361 (10th Cir. 1995). First, the court must ask whether the plaintiff could perform the

   essential functions of the job. Id. “Second, if (but only if) [the court] conclude[s] that the

   individual is not able to perform the essential functions of the job, [it] must determine whether

   any reasonable accommodation by the employer would enable him to perform those functions.”

   Id. at 361-62. This determination is a mixed question of law and fact. Mason v. Avaya

   Communs., Inc. 357 F.3d 1114, 1122 (10th Cir. 2004).

          Officer Nguyen does not contend that he was able to perform the job without a

   reasonable accommodation; however, the facts demonstrate at least a triable issue of fact as to

   whether he could perform the essential functions of his job with a reasonable accommodation.

   “[S]ummary adjudication may be improper when the employee has presented evidence []he

   could perform the essential functions of [his] position with the aid of an accommodation.”

   Osborne, 798 F.3d at 1266 (citation omitted).

          1.      Officer Nguyen has established that he is able to perform the essential
                  functions of the job of DPD police officer with a reasonable accommodation.

                          a. Essential Job Functions

          One of “[t]he most critical function[s] of the jury in ADA cases . . . [is] the injection of

   some indispensable common sense in the determination of what is or is not an essential

   function.” Masterson v. Yellow Freight Sys., Nos. 98-6025 & 98-6126, 1998 U.S. App. LEXIS

   31152, at *7 (10th Cir. Dec. 11, 1998) (citation omitted). Essential functions are “the

   fundamental job duties of the employment the individual with a disability holds or desires,” and

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   not those that bear just a marginal relationship to the job at issue. 29 C.F.R. § 1630.2(n)(1). In

   determining whether a job duty is an essential function, courts may look at “[t]he employer’s

   judgment as to which functions are essential,” “[w]ritten job descriptions,” “[t]he amount of time

   on the job performing the function,” “[t]he consequences of not requiring the incumbent to

   perform the function,” “[t]he work experience of past incumbents in the job,” and/or “[t]he

   current work experience of incumbents in similar jobs.” 29 C.F.R. § 1630.2(n)(3).

          Defendant appears to believe that every item listed in its job description for police officer

   is an “essential function.” See Def.’s Mot. Summ. J. 3. But “an employer may not turn every

   condition of employment which it elects to adopt into a job function, let alone an essential job

   function, merely by including it in a job description.” Rohr v. Salt River Project Agric.

   Improvement & Power Dist., 555 F.3d 850, 864 (9th Cir. 2009) (citation omitted). By its own

   description, many of those items constitute “Physical Requirements” and “Required Knowledge,

   Skills, Abilities, and Other Characteristics.” Def.’s Mot. Summ. J., Ex. 2, at 2-3, 8-11. Skill,

   experience, education, and other job-related requirements are a perquisite to performing the

   essential functions of a position, but they are not themselves essential functions. See Jacobsen,

   2012 U.S. LEXIS 25019, at *8 (Babcock, J.). “Whether a plaintiff possesses the prerequisite job

   requirements cannot include that he or she will be able to successfully perform that position.” Id.

   at *9. Rather, the question whether an individual is a qualified individual with a disability

   “centers on whether the plaintiff’s disability, with or without a reasonable accommodation,

   prevents [him] from performing the essential functions of a position.” Aquart v. Ascension

   Health Info. Servs., No. A-09-CA-804-AWA, 2011 U.S. Dist. LEXIS 6509, at *24 (W.D. Tex.

   Jan. 24, 2011). Indeed, “[i]f poor performance were enough to demonstrate an employee was not

   ‘qualified’ under the ADA, then . . . a court would never need to reach the question of whether



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   the performance deficiencies were the reason for termination, since the performance problems

   would render the plaintiff ‘unqualified.’” Id. at *25.

          Thus, while “[g]enerally . . . courts do not otherwise second-guess [an] employer’s

   judgment in describing the essential requirements of the job” Robert v. Carter, 819 F. Supp. 2d

   832, 842 (S.D. Ind. 2011) (emphasis added) (citation omitted), Defendant’s argument that

   Officer Nguyen’s performance difficulties unrelated to his hearing disability means he is not a

   qualified individual must fail. See Def.’s Mot. Summ. J. 15. The performance problems of other

   recruits in Officer Nguyen’s class—the work experience of incumbents in the job, 29 C.F.R.

   § 1630.2(n)(3)—also undermines this argument. If the ability to write somewhat accurate and

   complete reports in a reasonable amount of time and determine the fastest route to a call were

   “essential functions” of the position of DPD police officer, then more than a few of Officer

   Nguyen’s classmates would not be “qualified individuals” either. See SADMF, ¶ 28.a, b, c, d, e,

   f, g, h, i, k, l; see also id. at ¶ 29 (statements by employees of Defendant that report writing and

   orientation improve with time and are not as critical as officer safety). Defendant’s fourteen-page

   job description consequently should not exclusively determine what job duties are “essential

   functions” of the position.

          Regarding whether Officer Nguyen’s hearing disability, with or without a reasonable

   accommodation, prevented from performing the essential functions of the position, see Aquart,

   2011 U.S. Dist. LEXIS 6509, at *24, Defendant’s arguments are flawed for two reasons. First,

   Officer Nguyen concedes that he needed a reasonable accommodation, which Defendant did not

   provide, to perform the essential functions of the job. Defendant’s list of Officer Nguyen’s

   hearing-related performance failures occurred without his having reasonable accommodations.

   See Def.’s Mot. Summ. J. 13-14. Because, as discussed in the next subsection, see § V.B.1.b,



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   Officer Nguyen’s use of the new hearing aids and the FreeLinc at LSPD allow him to

   successfully perform his job of LSPD police officer, for this reason among others he has at least

   raised a disputed issue of fact whether he could have performed the essential functions of a DPD

   police officer with such accommodations.

          Second, contrary to Defendant’s argument, an employer may not merely cry “danger”

   and thereby establish that the safety implications of an employee’s disability disqualify him from

   performing the essential functions of the job. Rather, to so disqualify the employee, the employer

   must show that the employee “pose[s] a direct threat to the health or safety of other individuals

   in the workplace.” 42 U.S.C. § 12113. Such a requirement applies to all covered employers

   under the ADA; there is no exception for positions that by their very nature implicate health and

   safety. See Osborne, 798 F.3d at 1269. “When the essential functions of a position implicate

   health and safety, courts consider [direct threat] criteria to determine whether an employee is

   qualified for purposes of the second element of the prima facie case.” Id.

          “Direct threat means a significant risk of substantial harm to the health or safety of the

   [employee] or others that cannot be eliminated be reduced by reasonable accommodation.” 29

   C.F.R. § 1630.2(r) (emphasis added). In this context, a significant risk means a “high

   probability” of substantial harm: “[a]n employer . . . is not permitted to deny an employment

   opportunity to an individual merely because of a slightly increased risk.” 29 C.F.R. Part 1630

   Appendix. “The [employee] is not required to prove that he . . . poses no risk.” Hamlin v.

   Charter Township of Flint, 165 F.3d 426, 432 (6h Cir. 1999). Thus, “[a] speculative or remote

   risk is insufficient” to establish a direct threat, and consideration whether an individual with a

   disability would pose a direct threat “must rely on objective, factual evidence—not on subjective




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   perceptions, irrational fears, patronizing attitudes, or stereotypes—about the nature or effect of a

   particular disability.” 29 C.F.R. Part 1630 Appendix.

          “The determination whether an individual poses a ‘direct threat’ shall be based on an

   individualized assessment of the individual’s present ability to safety perform the essential

   functions of the job,” considering “[t]he duration of the risk,” “[t]he nature and severity of the

   potential harm,” “[t]he likelihood that the potential harm will occur,” and “[t]he imminence of

   the potential harm.” 29 C.F.R. § 1630.2(r). Defendant did not (and cannot) point to any past

   substantial harm caused by Officer Nguyen’s hearing disability. Indeed, Defendant’s statement

   that “[t]he potential harms caused by a police officer’s inability to hear are myriad and far from

   speculative,” Def.’s Mot. Summ. J. 14-15, is not based on “an individualized assessment” of

   Officer Nguyen’s ability to perform the job but rather fears and stereotypes about the nature or

   effect of a hearing disability, which is an expressly prohibited basis to disqualify an employee

   from a job, see 29 C.F.R. Part 1630 Appendix. Additionally, the issue is not Officer Nguyen’s

   past ability to safely perform the job without a reasonable accommodation, but his present ability

   to do so, which depends on whether “a proposed accommodation satisfies health and safety

   concerns” by “eliminat[ing] a significant [safety] risk.” Osborne, 798 F.3d at 1269. It is unlikely

   this determination can be made at the summary judgment stage:

          Whether one is a direct threat is a complicated fact intensive determination, not a
          question of law. To determine whether a particular individual performing a
          particular act poses a direct risk to others is a matter for the trier of fact to
          determine after weighing all of the evidence about the nature of the risk and the
          potential harm. . .. Permitting employers to obtain summary judgment by
          identifying . . . unlikely scenarios would eliminate ADA protection for disabled
          individuals working in professions where they might be tasked with the health and
          safety of others.

   Id. at 1278 (emphasis added) (internal citation omitted).




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          Because Defendant has pointed to nothing in the record that shows, as to any given risk

   of harm caused by Officer Nguyen’s hearing impairment, the duration of the risk, or the nature,

   severity, likelihood, or imminence of the harm, it has not established that no genuine dispute of

   fact exists regarding whether Officer Nguyen, with a reasonable accommodation, is a “direct

   threat” to the health and safety of others. See 29 C.F.R. § 1630.2(r); see also Osborne, 798 F.3d

   at 1278 (holding that the defendant did not establish that the plaintiff was a direct threat in part

   because nothing in the record established whether or how often the potential risks the defendant

   identified would occur). Conversely, as shown in the next section, such disputed issues of fact do

   exist regarding whether Officer Nguyen can safety perform the job of DPD police officer with a

   reasonable accommodation.

          Moreover, Defendant does not cite any evidence regarding the abilities of its non-

   disabled officers to safely perform the type of duties that it contends Officer Nguyen will

   perform unsafely. Cf. Rizzo v. Children’s World Learning Ctr., 84 F.3d 758, 764 (5th Cir. 1996)

   (holding there was a genuine issue of material fact as to whether the plaintiff was a direct threat

   and stating no evidence was presented regarding the ability of a non-disabled individual in the

   same position to perform the identified duty safely). “Like any other qualification standards,”

   under the ADA, the requirement that an individual not pose a direct threat “must apply to all

   applicants or employees and not just to individuals with disabilities.” 29 C.F.R. Part 1630

   Appendix. Given the extensive records showing that other, non-hearing-disabled recruits from

   Officer Nguyen’s class also had, according to Defendant’s own employees (the recruits’ training

   officers), performance issues that posed serious safety risks, Defendant has not shown that

   Officer Nguyen’s disability allegedly posing a safety hazard was the reason for his termination,

   rather than discrimination. See SADMF, ¶ 28.a, b, e, g, h, i, j, k, l.



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          The cases cited by Defendant are either inapposite or distinguishable. Kokkinis v.

   Ivokovich, 185 F.3d 840, 845-46 (7th Cir. 1999), addresses employer regulation of employee

   speech under the First Amendment, and thus has no applicability in the ADA context. Fraterrigo

   v. Akal Security, Inc., 2008 U.S. Dist. LEXIS 87451, at *5, *27-29 (S.D.N.Y. Oct 29, 2008),

   involved a court security officer job that required the employee to meet certain hearing standards

   set by the United States Marshal Service without wearing hearing aids; the court held that such a

   requirement was permissible because it was “job-related and consistent with business necessity.”

   In Robert, 819 F. Supp. 2d at 842-44, the issue was whether using a Taser was an essential job

   function for a civil deputy process server when the plaintiff’s disability prevented him from

   being able to let himself be tased during training. There is no such essential job function of DPD

   police officer, however, that Officer Nguyen cannot perform with a reasonable accommodation.

   This fact also distinguishes Karbusicky v. City of Park Ridge, 950 F. Supp. 878, 879-85 (N.D. Ill.

   1997), in which the plaintiff’s hearing loss was not sufficiently improved with hearing aids

   (although notably, the defendant police department let the plaintiff obtain and use a new hearing

   aid for a period of time before firing him because it did not improve his hearing performance).

   Unlike the plaintiff in Karbusicky, id. at 881-82, 884, based on the statements of Officer

   Nguyen’s audiologist, his expert witness, his LSPD supervisors, and Officer Nguyen himself,

   Officer Nguyen’s hearing with his new hearing aids and the Bluetooth allows him to perform the

   essential functions of the job of police officer, see RSUMF, ¶ 43; SADMF, ¶¶ 23-26.9



   9
     For this reason—that Officer Nguyen at the very least has shown a disputed issue of fact
   regarding his ability with a reasonable accommodation to safely perform the job of DPD police
   officer—the other cases cited by Defendant are likewise distinguishable. See Leverett v. City of
   Indianapolis, 51 F. Supp. 2d 949, 957-58 (S.D. Ind. 1999) (holding a firefighter did not show he
   was qualified because he could not establish that a hearing aid would allow him to meet the
   objective hearing standards for the job); Collis v. Gwinnett Cty., 156 F. Supp. 2d 1342, 1344-50
   (N.D. Ga. 2001) (holding that a paramedic’s failure due to hearing loss to alert and react to
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                          b. Reasonable Accommodations

          “A reasonable accommodation is one that presently, or in the near future, enable[s] the

   employee to perform the essential functions of his job.” Punt v. Kelly Servs., No. 14-cv-02560-

   CMA-MJW, 2016 U.S. Dist. LEXIS 1018, at *28 (D. Colo. Jan. 6, 2016) (citation omitted). On

   summary judgment, the employee “must first demonstrate that an accommodation appears

   reasonable on its face.” Jacobsen, 2012 U.S. Dist. LEXIS 25019, at 13 (citation omitted). A

   proposed accommodation “seems reasonable on its face” if it would be reasonable “ordinarily or

   in the run of cases.” Osborne, 798 F.3d at 1267. Conversely, “a proposed accommodation is not

   reasonable on its face if it would not enable the employee to perform the essential function at

   issue.” Id. The burden then “shifts to the employer to present evidence of its inability to

   accommodate” by “show[ing] special (typically case-specific) circumstances that demonstrate

   undue hardship in the particular circumstances.” Id. (citation omitted). If the employer does so,

   the employee must come forward “with evidence concerning [his] individual capabilities and

   suggestions for possible accommodations to rebut the employer’s evidence.” Id. at 1268.

   “Whether an accommodation is reasonable under the ADA is a mixed question of law and fact.”

   Id. at 1267 (citation omitted).

          For three reasons, Officer Nguyen can clearly show that his proposed accommodation

   consisting of DPD allowing him to obtain new hearing aids (the ones he wears now) and use the

   FreeLinc is reasonable on its face. First, regarding his new hearing aids, both he and Dr. Huerta

   testified that they improved his hearing. Indeed, Dr. Huerta testified that “odds” were that



   emergency radio and direct communications meant he was not qualified for the job—but also
   notable because the defendant purchased new hearing aids for the employee and extended his
   probationary period to evaluate his hearing with the aids before terminating him because his
   hearing performance had not improved).

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   Officer Nguyen had close to normal hearing with the new hearing aids and she provided specific

   testimony regarding how the new aids improved his ability to hear, such as by helping him

   distinguish radio calls from background noise or hear softer sounds like someone walking up

   behind him. RSUMF, ¶ 43; SADMF, ¶ 25. Officer Nguyen testified that his new hearing aids are

   better than the ones he had when working at DPD and transmit sound better, louder, and clearer.

   SADMF, ¶ 24. Second, Officer Nguyen’s expert and supervisors at LSPD attest that he can

   perform the essential functions of the job of police officer. See SADMF, ¶¶ 23. 26. Mr.

   Montgomery expressly stated that when observing Officer Nguyen’s performance as a LSPD

   officer in March 2017, which was when Officer Nguyen was wearing the new hearing aids, he

   did not notice any problems with his hearing even when Mr. Montgomery intentionally spoke

   softly or from behind him. SADMF, ¶ 26. Lastly, Dr. Feehs testified that when he saw Officer

   Nguyen in March 2014 for the RAQ, based on what Officer Nguyen was reporting about his

   hearing, “stronger hearing aids could have improved his hearing” and thus “he may have

   need[ed] new hearing aids, stronger hearing aids,” which is consistent with Dr. Feehs

   recommendation in the RAQ that Officer Nguyen try newer, stronger hearing aids. Ex. 11, Feehs

   Dep. 57:1-3, 75:13-25; see also SADMF, ¶ 19.

          Therefore, the new, stronger hearing aids were an accommodation that would enable and

   in fact did enable Officer Nguyen to perform the essential function at issue—hearing sounds that

   are necessary for a police officer to hear—on the particular facts of the case, and, also, stronger

   hearing aids are obviously a reasonable proposed accommodation “ordinarily or in the run of

   cases” of individuals with hearing loss. Osborne, 798 F.3d at 1267. Defendant’s arguments to the

   contrary are unavailing.




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          As an initial matter, Defendant’s arguments regarding speculation and lack of specificity

   rely on an incorrect understanding of the law. See Def.’s Mot. Summ. J. 25. The requirement

   that the plaintiff identify a reasonable accommodation to meet its burden during litigation is just

   that: a litigation burden. An employee need not “come forward with a reasonable

   accommodation that would prevail in litigation” during or before the interactive process. Taylor,

   184 F.3d at 317; see also Floyd v. Lee, 85 F. Supp. 3d 482, 513 n.46 (D.D.C. 2015); McQuillan

   v. Petco Animal Supplies Stores, Inc., No. 13-5773 (FLW), 2014 U.S. Dist. LEXIS 58464, at *20

   (D.N.J. Apr. 28, 2014); Niemczura v. Coral Graphics Servs., No. CV 04-5452 (TCP)(MLO),

   2005 U.S. Dist. LEXIS 30367, at *14 (E.D.N.Y. Nov. 15, 2005). Indeed, the whole purpose of

   the interactive purpose is to determine appropriate accommodation. Taylor, 184 F.3d at 316.

          Officer Nguyen can meet his burden to show a reasonable accommodation by

   establishing now that there was a specific accommodation available at the time he was

   terminated that would have enabled him to perform the essential functions of the job and he thus

   could have been reasonably accommodated but for the employer's lack of good faith in the IAP.

   Id. at 320. The specific hearing aids that Dr. Huerta ordered for Officer Nguyen on April 2,

   2014—twenty-one days before he was fired—and that he has been wearing since May 7, 2014,

   existed when he was terminated. See RSUMF, ¶ 42; see also Ex. 4, Huerta Records – Hearing

   Aid Order and Re-Make. Defendant’s cited cases in which the court held that the plaintiff did not

   meet his or her burden of production on this element because he or she did not identify any

   specific accommodation during litigation or the plaintiff did not show that a proposed

   accommodation actually existed thus do not apply here. See Jackan v. N.Y. State DOL, 205 F.3d

   562, 566-67 (2d. Cir. 2000); Spraggs v. Sun Oil Co., No. 97-5194, 2000 U.S. App. LEXIS




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   10694, at *9 (10th Cir. May 16, 2000); White v. York Int’l Corp., 45 F.3d 357, 362-63 (10th Cir.

   1995).10

          Moreover, there is no requirement—and Defendant cites no case that stands for a

   requirement—that Officer Nguyen demonstrate that the new hearing aids would have allowed

   him to perform the essential functions of the job of DPD police officer by pointing to objective

   tests that quantify their effectiveness. See Def.’s Mot. Summ. J. 25-26.11 As discussed above,

   see § V.B.1.a, Officer Nguyen need not 100% guarantee that he can safely perform the job with

   the new hearing aids to establish he is a qualified individual. Rather, the evidence from Officer

   Nguyen, Dr. Huerta, Mr. Montgomery, and Officer Nguyen’s LSPD supervisors sufficiently

   shows for purposes of surviving summary judgment that there are disputed issues of fact whether

   he can perform the essential functions of the job with the new hearing aids. Indeed, the Southern

   District Court of New York reached the same conclusion on very similar facts in Phillips v. City

   of New York, No. 1:11-cv-06685-KPF (Sep. 24, 2014), Ex. 45. The court held that despite the

   New York Police Department’s policy that uniform members of the force could not wear hearing



   10
      Defendant also seems to think that the determination whether a reasonable accommodation
   existed should be made by relying entirely on the RAQ (which, of course, is consistent with its
   actual practice of relying exclusively on the RAQ during the IAP). However, given that the IAP
   requires that the employer “make a reasonable effort to explore the accommodation possibilities
   with the employee,” Jacobsen, 2012 U.S. Dist. LEXIS 24019, at *29 (Babcock, J.) (emphasis
   added), Defendant was not discharged from its obligation to work with Officer Nguyen to
   identify a reasonable obligation merely because Dr. Feehs recommended “new stronger, hearing
   aids” without specifying which ones.
   11
      Leverett, 51 F. Supp. at 953, did not hold that the plaintiff needed to show through objective
   testing that he was a qualified individual; indeed, the court in Leverett stated that “there [was] no
   widely accepted standard or test with which to measure an individual’s ability to localize sound.”
   Regardless, the tests that the experts did administer to the plaintiff in Leverett showed that he
   was unable to localize sound, which was an essential function of his job as a firefighter, and,
   unlike the evidence Officer Nguyen has put forth showing that the new hearing aids do improve
   his job-related hearing ability, the “evidence adduced at trial [did] not support [the plaintiff’s]
   belief that [a certain hearing aid] would [have] improve[d] his ability to localize sound.” Id. at
   954-57. Notably, Leverett was decided after a bench trial, not on summary judgment.
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   aids, the plaintiffs had established a disputed issue of material fact whether they could perform

   the essential functions of their jobs while wearing hearing aids by presenting testimony from

   audiologists, their supervisors, and the plaintiffs themselves. Id. at 4, 13-17. The court in

   Phillips, id. at 16, also discussed one of the cases on which Defendant relies, Fraterrigo, 2008

   U.S. Dist. LEXIS 87451, and noted that since the ruling in that case, the USMS had “amended its

   medical standards to permit the use of hearing aids by court security officers.”

          For the same reasons, Defendant has not demonstrated it would have suffered undue

   hardship, see Osborne, 798 F.3d at 1267, had it not terminated Officer Nguyen but rather let him

   return to the FTO program after he obtained the new hearing aids. The so-called safety concern

   Defendant cites to support its argument that doing so was justified—that to satisfy its ADA

   obligations Defendant did not need to “throw[] caution to the wind, cross[] [its] fingers, let

   [Officer Nguyen] loose on the streets of Denver . . . and hope[] that he could perform well

   enough not to get himself or others killed,” Def.’s Mot. Summ. J. 26—is nothing more than the

   speculative “unlikely scenario[]” the Tenth Circuit has held should not allow an employer to

   obtain summary judgment, Osborne, 798 F.3d at 1278. And, contrary to Defendant’s assertion,

   Officer Nguyen’s returning to work as a DPD officer after obtaining the new hearing aids would

   not have constituted a “trial period” for him to establish that he was a qualified individual. See

   Def.’s Mot. Summ. J. 26. The evidence discussed above shows that Officer Nguyen is a

   qualified individual and this case is therefore distinguishable from Buck v. Fries & Fries, No. 95-

   3093, 1988 U.S. App. LEXIS 7074, at *12 (6th Cir. Apr. 3, 1998), in which the plaintiff had not

   otherwise established he was a qualified individual but argued that he should have been able to

   do so by demonstrating he could perform the essential functions of his job by returning to his job

   after an injury. The court explained that such was “simply not an accommodation under the



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   ADA, because it [did] not serve to enable [the plaintiff] to perform his job—it only help[ed] to

   determine whether [he was] capable of performing his assigned tasks.” Id. at 13. Defendant’s

   allowing Officer Nguyen to return to work after obtaining the new hearing aids, on the other

   hand, would not have been so he could show he was a qualified individual and therefore be

   entitled to a reasonable accommodation; it was, in conjunction with Defendant’s providing him a

   FreeLinc, the reasonable accommodation in itself.

          As Defendant’s arguments regarding the FreeLinc, see Def.’s Mot. Summ. J. 20-21, they

   are almost all addressed by the simple fact, stated in the previous sentence, that both the

   FreeLinc and the new hearing aids together are the reasonable accommodation proposed, not

   either the FreeLinc or the new hearing aids. This common sense principle is explained by the

   EEOC in its Enforcement Guidance: “The duty to provide reasonable accommodation is an

   ongoing one. Certain individuals require only one reasonable accommodation, while others may

   need more than one.” The U.S. Equal Employment Opportunity Comm’n, Enforcement

   Guidance on Reasonable Accommodations Undue Hardship Under the Americans with

   Disabilities Act (Oct. 27, 2002), available at https://www.eeoc.gov/policy/

   docs/accommodation.html. Moreover, as in Taylor, 184 F.2d at 319, “the fact that [the] potential

   accommodations are modest should not encourage [this Court] to dismiss [the] claim on

   summary judgment on the theory that they would be useless; that would have the bizarre

   implication that the more demanding a plaintiff’s accommodations were, the more likely the

   plaintiff is to survive summary judgment.”12



   12
     Defendant also argues that the FreeLinc was not a reasonable accommodation because it
   “would have provided no additional benefit” to Officer Nguyen because it would not have helped
   with his non-hearing related issues such as orientation and report writing. Def.’s Mot. Summ. J.
   21. But this argument dispels itself. An accommodation for a disability addresses the issues
   caused by the disability; that any non-disability-related issues remain despite the accommodation
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          Accordingly, Officer Nguyen can establish (or at least show there are disputed factual

   issues) that he is qualified with the reasonable accommodation of a FreeLinc and his new hearing

   aids to perform the essential functions of the job of DPD officer.

          2.      Defendant had an obligation to provide Officer Nguyen with a reasonable
                  accommodation.

          The ADA prohibits employers from “discriminat[ing] against a qualified individual on

   the basis of disability in regard to . . . discharge of employees . . . [and] other terms, conditions,

   and privileges of employment.” 42 U.S.C. § 12112(a). “[T]he term ‘discriminate against a

   qualified individual on the basis of disability’ includes . . . not making reasonable

   accommodations to the known physical or mental limitations of an otherwise qualified individual

   with a disability who is an . . . employee.” 42 U.S.C. at § 12112(b)(5)(A); see also 29 C.F.R.

   §1630.9.13 Because the purpose of the IAP is to determine a reasonable accommodation, Taylor,

   184 F.3d at 316, if “an employer knows of a disability of a qualified individual, the employer has

   [an] obligation to participate in the interactive process of determining [the] accommodation,”

   United States v. City and Cty. of Denver, 49 F. Supp. 2d at 1240.

          Since Defendant knew that Officer Nguyen had a disability and needed a reasonable

   accommodation to perform the essential functions of his job, at the latest, when Corporal Ford

   submitted his End of Phase 1 Report, Defendant had an obligation to initiate the IAP at that time.

   Defendant’s failure to do so, and its failure to participate in the IAP in good faith once it finally




   is irrelevant to the effectiveness of the accommodation in accommodating the issues caused by
   the disability. See § V.A.
   13
      The Rehabilitation Act also imposes a duty upon employers to make reasonable
   accommodations for disabled employees. See Roberts v. Progressive Indep., Inc., 183 F.3d 1215,
   1220, 1220 n.3 (10th Cir. 1999).
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   did initiate it, resulted in Defendant’s not providing Officer Nguyen a reasonable

   accommodation, in violation of the ADA.

                    a.      Notice of a Disability and Triggering of the Interactive Process

                             i.   Request for Accommodation is not Required

          As DPD’s own policy provides, its “duty to engage in the IAP is triggered” when it “has

   actual or constructive notice that a police officer may have a disability for which that officer

   needs a reasonable accommodation.” SADMF, ¶ 10. Contrary to Defendant’s argument that an

   employer’s duty to engage in the IAP is not triggered until an employee asks for a reasonable

   accommodation, see Def.’s Mot. Summ. J. 17, DPD’s ADA policy regarding when it must

   initiate the IAP (which apparently it does not actually follow) is consistent with the ADA’s

   statutory language, its case law, and its legislative purpose.

          First, the ADA requires employers to make “reasonable accommodations to the known

   physical or mental limitations” of employees with disabilities. 42 U.S.C. § 12112(b)(5)(A)

   (emphasis added). The statutory (and regulatory) language “speaks of accommodating ‘known’

   disabilities, not just disabilities for which accommodation has been requested.” Brady v. Wal-

   Mart Stores, Inc., 531 F.3d 127, 135 (2d Cir. 2008). Based on this language, if an employer has

   knowledge, regardless of whether that knowledge is from an employee’s request for an

   accommodation or otherwise, that the employee has a disability and needs a reasonable

   accommodation, it is obligated to provide one. See id. (holding that “an employer has a duty to

   reasonably accommodate an employee’s disability if the disability is obvious—which is to say, if

   the employer knew or reasonably should have known that the employee was disabled”).

   Thus, the EEOC guidelines, while explaining that an employer would not be “expected to

   accommodate disabilities of which it is unaware,” provide that “[i]n general, . . . it is the



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   responsibility of the individual with a disability to inform the employer that an accommodation is

   needed.” 29 C.F.R. Part 1630 Appendix (emphasis added).14 The “qualifying words ‘in general’”

   mean that “[g]enerally it will be the employee’s burden to initiate the [interactive] process—but

   not always.” Johnson v. Foulds, Inc., No. 96-2961, 1997 U.S. App. LEXIS 3386, at *7 (7th Cir.

   Feb. 19, 1997). Were the rule otherwise, employers who were aware a disabled employee needed

   a reasonable accommodation could sit back and do nothing until the employee’s disability led to

   performance difficulties, then legitimately fire him for such difficulties on the premise that it did

   not have any obligation to provide an accommodation before such difficulties arose—which is

   exactly what happened here.

          Not surprisingly, then, courts consistently interpret the ADA to require that reasonable

   accommodations be provided whenever there is notice that they are needed: “[i]t is well settled

   that a request for an accommodation is not required where the disabled individual’s need for an

   accommodation is obvious.” Brown v. Cty. of Nassau, 736 F. Supp. 2d 602, 618-19 (E.D.N.Y.

   2010). For instance, the Tenth Circuit held in Robertson v. Las Animas Cty. Sheriff’s Dep’t, 500

   F.3d 1185, 1189, 1196 (10th Cir. 2007), that even though a deaf inmate told the booking officer

   that “he had no physical or health problems,” because “there [was] a question of fact as to the

   [jail’s] knowledge” of the inmate’s disability and his need for an accommodation, summary

   judgment was inappropriate.15 The court held that “before a public entity can be required under

   the ADA to provide” a reasonable accommodation, “the entity must have knowledge that the




   14
      The EEOC guidelines “constitute [t]he administrative interpretation of the [ADA] by the
   enforcing agency and consequently they are entitled to great deference.” Albemarle Paper Co. v.
   Moody, 422 U.S. 405, 431 (1975).
   15
      Although Robertson, 500 F.3d at 1196, 1198, is a Title II ADA case, the court explicitly relied
   on Title I cases in reaching the relevant holding. It is therefore proper to look to Robertson for
   guidance here.
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   individual is disabled, either because that disability is obvious or because the individual (or

   someone else) has informed the entity of the disability.” Id.at 1196 (emphasis added). “Once the

   public entity has knowledge of an individual’s disability,” it is required to provide an

   accommodation if it “also [has] knowledge that an individual requires [one].” Id. at 1197. Like

   with knowledge of the disability itself, an entity may have knowledge of the need for an

   accommodation because that need “is ‘obvious.’” Id. Consequently, “[w]hen a disabled

   individual’s need for an accommodation is obvious, the individual’s failure to expressly

   ‘request’ one is not fatal to the ADA claim.” Id.

          Numerous cases, including the one against Denver discussed in the Introduction, likewise

   hold that an employer must provide a reasonable accommodation to an employee (or at least

   initiate the IAP to determine if it is possible to provide an accommodation) when the employer

   knows that the employer is disabled and needs an accommodation, whether or not the employee

   has requested one. See United States v. Denver, 49 F. Supp. 2d at 1240-41 (“[I]f . . . an employer

   knows of [an employee’s] disability . . ., the employer has an obligation to participate in the

   interactive process of determining an accommodation. . . . . An employer knows an employee has

   a disability when the employee tells the employer about his condition, or when the employer

   otherwise becomes aware of the condition, such as through third party or by observation. The

   employer need only know the underlying facts [the existence of a physical or mental

   impairment], not the legal significance of those facts [that such impairment is considered a

   disability].”); accord Barnett v. U.S. Air, Inc., 228 F.3d 1105, 1112 (9th Cir. 2000) (“The

   interactive process is triggered either by a request for accommodation by a disabled employee or

   by the employer’s recognition of the need for such an accommodation.” (reversed on other

   grounds)); Campbell v. Wal-Mart Stores, 272 F. Supp. 2d 1276, 1287-90 (N.D. Okla. 2003)



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   (denying summary judgment to the employer which it sought on the ground that the employee

   did not ask for a reasonable accommodation when “[i]t [was] undisputed [the employee’s]

   disabilities (i.e., deafness and legal blindness) were known to [the employer] at the time [she]

   commenced her employment,” and “[i]n fact, [she] listed those disabilities on her application for

   employment and pre-screening questionnaire”); see also McCoy v. Tex. Dep’t of Crim. Justice,

   No. C-05-370, 2006 U.S. Dist. LEXIS 55403, at *25-27 (S.D. Tex. Aug. 9, 2006) (listing cases).

          Although Defendant cited cases from the Tenth Circuit that may appear inconsistent with

   the rule from Robertson—see Koessel v. Sublette Cty. Sheriff’s Dep’t 717 F.3d 736, 744-45 (10th

   Cir. 2013), Dinse v. Carlisle Foodservice Prods., 541 F. App’x 885, 889-93 (10th Cir. 2013)— a

   panel of the Tenth Circuit “cannot overrule the judgment of another panel of [the] court,” as it is

   “bound by the precedent of prior panels absent en banc reconsideration or a superseding contrary

   decision by the Supreme Court.” Haynes v. Kansas, 261 F. App’x 87, 89 (10th Cir. 2008).

   Instead of assuming that Koessel and Dinse (impermissibly) overruled Robertson sub silentio or

   intended sub silentio to distinguish between Title I and Title II ADA cases (despite Robertson’s

   explicit reliance on Title I cases, see supra note 15), it is possible to harmonize the general

   requirement that a disabled employee request a reasonable accommodation before an employer’s

   obligation to initiate the IAP is triggered with an exception to this rule when the employee’s

   disability and need for a reasonable accommodation are obvious. “[T]here is a balance to be

   struck between a disabled individual’s need to request accommodations when limitations are not

   obvious or apparent and [an ADA covered entity’s] duty to provide accommodations without

   further notice or a request.” Greer v. Richardson Indep. Sch. Dist., 472 F. App’x 287, 296 (5th

   Cir. 2012). While “[t]he notice requirement is rooted in common sense” because “obviously, an

   employer who acts or fails to act without knowledge of a disability cannot be said to have



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   discriminated based on that disability,” this “concern[] [is] not relevant when an employer has

   independent knowledge of an employee’s disability.” Brady, 531 F.3d at 135 (citation omitted).16

          Furthermore, letting an employer avoid its obligation to provide a reasonable

   accommodation to an employee who has an obvious disability and need for accommodation on

   the mere technicality that the employee did not request an accommodation is inconsistent with

   the purpose of the 2008 amendments to the ADA, which were “to make it easier for people with

   disabilities to obtain protection under the ADA” and which make clear that “the primary object

   of attention in cases brought under the ADA should be whether covered entities have complied

   with their [ADA] obligations.” 29 C.F.R. § 1630.1(c)(4). Contrary to this explicit purpose, an

   intent focus on whether there was a request for an accommodation—like the intent focus on

   whether someone was disabled that had developed in the case law Congress overruled with the

   2008 amendments—decreases coverage under the Act and takes attention away from the

   employer’s obligations. See ADA Amendments Act of 2008, 110 P.L. 325, 122 Stat. 3553, § 2

   (purpose of 2008 Amendments).

          Defendant thus was obligated to initiate the IAP, regardless of whether Officer Nguyen

   expressly requested an accommodation. Based on Officer Nguyen’s pre-employment medical

   evaluation and Pre-Employment Medical Agreement, as well as the numerous statements by his

   training officers and supervisors about his performance difficulties related to his hearing, it was

   obvious to Defendant that Officer Nguyen had a hearing disability—or at least a physical



   16
     However, if this Court were to decide that Robertson is irreconcilable with Koessel and Dinse,
   an en banc decision of the 10th Circuit, Smith v. Midland Brake, Inc., 180 F.3d 1154, 1171 (10th
   Cir. 1999), on which Robertson relied, is instructive: “In general, the interactive process must
   ordinarily begin with the employee providing notice to the employer of the employee’s disability
   and any resulting limitations.” (Emphasis added.) By using the terms “[i]n general” and
   “ordinarily,” Smith recognizes exceptions to the notice rule, and it does not preclude one such
   exception from being when the disability and need for reasonable accommodation are obvious.
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   impairment causing hearing problems—and that he needed a reasonable accommodation to

   perform the essential functions of his job. See RSUMF, ¶¶ 22, 27, 28, 30; SADMF, ¶¶ 4-5, 8-9,

   12-13.

                            ii.   Officer Nguyen Requested an Accommodation

            However, even if an express request for an accommodation were a requirement to initiate

   the IAP, Officer Nguyen made such a request. Notice or request for an accommodation “does not

   have to be in writing . . . or formally invoke the magic words ‘reasonable accommodation’”; it

   merely “must make clear that the employee wants assistance for his or her disability.” Taylor,

   184 F.3d at 313. The Pre-Employment Medical Agreement Officer Nguyen signed “[made] clear

   that [he] want[ed] assistance for his . . . disability,” id., as it was an explicit acknowledgment that

   he was “ being offered. . . an accommodation for [his] medical condition of bi-lateral hearing

   loss . . . . to help ensure that [he was] able to perform the essential functions” of the job of DPD

   officer, SADMF, ¶ 5. A prerequisite to an offer of assistance and the acceptance of that offer is

   mutual recognition that the assistance is needed, which entails that both Defendant and Officer

   Nguyen recognized that as a condition to employment, Officer Nguyen would need and be

   provided assistance for his disability.

            Once Officer Nguyen executed the Pre-Employment Medical Agreement, he did not need

   to make further effort to obtain assistance for his hearing disability because “the duty to provide

   reasonable accommodation is a continuing one . . . and not exhausted by one effort.” Ralph v.

   Lucent Techs., 135 F.3d 166, 172 (1st Cir. 1998).

            Once an employer becomes aware of the need for accommodation, that employer has a
            mandatory obligation under the ADA to engage in an interactive process with the
            employee to identify and implement appropriate reasonable accommodations. . . . If a
            reasonable accommodation turns out to be ineffective and the employee with a disability
            remains unable to perform an essential function, the employer must consider whether
            there would be an alternative reasonable accommodation that would not pose an undue

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          hardship. Thus, the employer’s obligation to engage in the [IAP] extends beyond the
          first attempt at accommodation and continues when . . . the employer is aware that the
          initial accommodation is failing and further accommodation is needed.

   Humphrey v. Mem’l Hosps. Ass’n, 239 F.3d 1128, 1137-38 (9th Cir. 2001) (citation omitted)

   (emphasis added). Because Officer Nguyen and Defendant had already agreed that he would be

   provided a reasonable accommodation, once it became clear he needed further accommodation

   to perform the essential functions of his job, Defendant was obligated to initiate the IAP.17

          And, even if the Pre-Employment Medical Agreement by itself were not enough to

   constitute notice by Officer Nguyen of his desire for assistance for his disability, a reasonable

   jury could believe that Officer Nguyen made at least three other requests for accommodation.

   First, in the Academy, Officer Nguyen asked one of Defendant’s employees about obtaining a

   FreeLinc device. RSUMF, ¶ 7. The fact that he did so before recruits were given radios is

   irrelevant. The premise that “an employer need provide reasonable accommodation under the

   Act only at the moment such accommodation is needed” is flawed because “the term ‘reasonable

   accommodation’ means those accommodations which presently, or in the near future, enable the

   employee to perform the essential functions of his job.” Roberts v. Progressive Indep., Inc., 183

   F.3d 1215, 1220 (10th Cir. 1999) (citation omitted). Otherwise, “an employer could escape

   liability for failure to provide reasonable accommodation by terminating employment before the

   exact moment accommodation is needed.” Id. Second, according to Defendant, Officer Nguyen

   requested accommodation “when he asked Corporal Ford in Phase 1. . . if he could bring in an

   earpiece.” Ex. 19, Def.’s Resp. to Pl’s Disc., at 6. The fact that the earpiece obviously did not



   17
     Defendant cannot avoid liability on this issue by contending that Officer Nguyen’s supervisors
   were not actually aware of the Pre-Employment Medical Agreement due to the fact that a
   different department had executed the agreement with Officer Nguyen. If it could, any employer
   could avoid its ADA obligations by compartmentalizing its operations. Such manipulation
   should not be able to thwart the mandates of federal law.
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   address many of Officer Nguyen’s hearing difficulties regarding the radio was enough to trigger

   Defendant’s duty to engage in the IAP to determine what accommodation would work. See

   Humphrey, 239 F.3d at 1137-38. Likewise, Officer Nguyen testified that during the same

   conversation in which the topic of the earpiece arose, he asked Officer Ford for suggestions to

   help with his hearing issues, RSUMF, ¶ 13, thereby also triggering Defendant’s IAP duty.

                           iii.   Officer Nguyen’s Conduct Did Not Excuse Defendant’s Failure
                                  to Initiate the IAP

          Finally, contrary to Defendant’s argument, none of Officer Nguyen’s after-the-fact

   statements in his deposition about whether he could perform his job adequately without further

   accommodation excuse Defendant’s failure to timely initiate the IAP. See Mot. Summ. J. 15, 20.

   An “individual’s reject[ion] of a reasonable accommodation . . . that is necessary to enable the

   individual to perform the essential functions of the position” when such an individual “cannot, as

   a result, of that rejection, perform the essential functions of the position” means the individual is

   not “considered [a] qualified” individual with a disability. 29 C.F.R. § 1630.9(d). However,

   unlike the plaintiff in Baker v. City & Cty. of Denver, No. 14-cv-02468-REB-CBS, 2016 U.S.

   Dist. LEXIS 504, at *16 (D. Colo. Jan. 5, 2016), who told her employer “she could perform her

   job without any accommodation of her disabilities” in response to the employer’s initiation of the

   IAP, Officer Nguyen never rejected any accommodation that was offered to him by Defendant

   that would have enabled him to perform the essential functions of his position, nor did he refuse

   to participate in the IAP.

          Rather, as in Robertson, 500 F.3d at 1194, Officer Nguyen’s subjective beliefs about his

   hearing ability, expressed during the course of litigation, are irrelevant. See id. (holding that the

   district court erred in considering plaintiff’s testimony that “his inability to hear does not

   physically bother him and that he does not consider it either a physical or mental impairment” an

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   “admission” that he was not disabled because “the fact that [the plaintiff] . . . does not consider

   himself to be substantially limited by [his impairment] does not enter into the calculus”).18 And

   assuming Officer Nguyen really does or did believe that he was able to perform the essential

   functions of his DPD officer job, such a scenario “presents a[] strong[] case for mitigating [any]

   requirement that [he] seek accommodation.” Brady, 531 F.3d at 135. Such a situation is almost

   tantamount to a case in which an employee’s mental illness prevents the employee from

   requesting a reasonable accommodation: “[t]he employer has to meet the employee half-way,

   and if it appears that the employee may need an accommodation but doesn’t know how to ask for

   it, the employer should do what it can to help.” Bultemeyer v. Fort Wayne Community Sch., 100

   F.3d 1281, 1285 (7th Cir. 1996).

          Likewise, Officer Nguyen’s statements to his training officers that he did not know if

   anything could be done to accommodate his disability, see Def.’s Mot. Summ. J. 19, did not

   discharge Defendant’s obligation to initiate the IAP once it became clear that his hearing

   impairment was preventing him from performing the essential functions of the job. Since “the

   purpose of the [IAP] is to determine the appropriate accommodations,” it “would make little

   sense to insist that the employee must have arrived at the end product of the [IAP] before the

   employer has a duty to participate in [the] process.” Taylor, 184 F.3d at 316. The fact that

   Officer Nguyen was not sure what could be done to help with his hearing issues on the job shows

   the necessity of the IAP. As does Defendant’s argument that Defendant was excused from its




   18
     Cruz Carillo v. AMR Eagle, Inc., 148 F. Supp. 2d 142, 146 (D. P.R. 2001), cited by Defendant
   for the proposition that “[i]t is incongruous . . . to claim discrimination for lack of
   accommodation when there is no need for one,” is distinguishable because in that case, the
   parties had stipulated the plaintiff was capable of performing the essential functions of his job.
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   IAP duty because it had already given Officer Nguyen an opportunity to try new hearing aids

   during FTO. See Def.’s Mot. Summ. J. 23.

           As discussed above, the fact Officer Nguyen did not immediately get new hearing aids

   after his training officer suggested during FTO that he go see a doctor does not fall under the

   purview of 29 C.F.R. § 1630.9(d), given that Defendant never offered him anything, much less a

   reasonable accommodation; the offer of a reasonable accommodation is obviously a prerequisite

   to the rejection of it. Crocker v. Runyon, 207 F.3d 314, 320 (6th Cir. 2000), is thus

   distinguishable because in that case, the employer “offered the employee an accommodation in

   the form of a more sedentary job, which he refused.” (Emphasis added.); see also Hendrick v. W.

   Reserve Care Sys., 355 F.3d 444, 448 (6th Cir. 2004) (holding the plaintiff could not be

   considered a “qualified individual with a disability” because she rejected reassignment to another

   position that her employer had offered to her as a reasonable accommodation). Moreover, “an

   employer [is] not relieved of its obligation to provide reasonable accommodation for an

   employee with a disability who fails to . . . use an assistive device (such as a hearing aid)”

   because “[t]he ADA requires an employer to provide reasonable accommodation to remove

   workplace barriers, regardless of what effect . . . assistive devices may have on an employee’s

   ability to perform the job.” The U.S. Equal Employment Opportunity Comm’n,

   https://www.eeoc.gov/policy/docs/accommodation.html. It thus follows that Officer Nguyen’s

   failure to immediately obtain new hearing aids in January 2014 after his training officer

   suggested he see a doctor about his hearing did not relieve Defendants of its duty to timely

   initiate the IAP.

           Indeed, testimony regarding Officer Nguyen’s January 2014 doctor appointment shows

   the peril of not initiating the IAP but instead relying entirely on Officer Nguyen’s discussions



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   with his superior officers. While Officer Nguyen believed his training officer wanted him to

   discuss surgical options with his doctor, RSUMF, ¶ 24, it appears from Corporal Juarez’s DOR

   that he intended that Officer Nguyen also discuss hearing aid options. Adding to the confusion,

   while Officer Nguyen told Corporal Juarez that his hearing aids were the “best fit” for his ear

   and condition, id. at ¶ 21, Officer Nguyen’s statement got lost in translation and his other

   training officers and supervisors believed he said that he had the best hearing aids available, see

   Ex. 9, Quinones Dep. 58:13-24 (“[Officer Nguyen said] that his doctors have told him those are

   the best hearing aids he [could] get.”); Ex. 28, Ford Dep. 86:9-21; Ex. 6, Heimbigner Dep.

   91:15-23. Once Defendant actually complied with its ADA obligation and initiated the IAP, it

   then became clear to Officer Nguyen and Defendant that there were stronger hearing aids

   available. In part for this reason, on notice of an employee’s disability and need for an

   accommodation, the ADA requires initiation of the IAP, not merely a game of telephone among

   the employee, his doctor, his immediate supervisors, and their supervisors. See Smith, 180 F.3d

   at 1172 (“The interactive process is typically an essential component of the process by which a

   reasonable accommodation can be determined.”) Because Defendant had such notice before

   deciding to fire Officer Nguyen, there are genuine issues of material fact whether it violated the

   ADA in not initiating the IAP sooner. Cf. id.,at 1179 (reversing summary judgment where

   genuine disputes of fact existed as to plaintiff’s invocation of, and defendant’s response to, the

   interactive process).

                    b.      The Interactive Process and the Good Faith Requirement

          The interactive process “identif[ies] the precise limitations resulting from the disability

   and potential reasonable accommodations that could overcome those limitations.” 29 C.F.R.

   § 1630.2(o)(3). It requires the employer “to implement the accommodation that is most



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   appropriate for both the employee and the employer” by using a “flexible,” “problem solving

   approach” to “[a]nalyze the particular job involved and determine its purpose and essential

   functions”; “[c]onsult with the [employee] to ascertain the precise job-related limitations

   imposed by [his] disability and how those limitations could be overcome with a reasonable

   accommodation”; and “[i]n consultation with the [employee], identify potential accommodations

   and assess the effectiveness each would have in enabling [him] to perform the essential functions

   of the position.” 29 C.F.R. Part 1630 Appendix.

          “[T]he interactive process is a mandatory, rather than a permissive, obligation on the part

   of employers under the ADA”; it “is at the heart of the ADA’s process and essential to

   accomplishing its goals.” Barnett, 228 F.3d at 1113-14; see also Jacobsen, 2012 U.S. Dist.

   LEXIS 25019, at *29 (Babcock, J.) (“The obligation to engage in an interactive process is

   inherent in the statutory obligation to offer a reasonable accommodation to an otherwise

   qualified disabled employee.” (citation omitted)); United States v. Denver, 49 F. Supp. at 1240-

   41. For this reason, both parties must participate in the interactive process in good faith. Smith,

   180 F.3d at 1172. An employee who contends that the employer did not meet its obligation to

   initiate the IAP or did not participate in the IAP in good faith may establish the employer

   violated the ADA by showing that “the employer’s failure to engage in [the] IAP resulted in a

   failure to identify an appropriate accommodation for the qualified individual.” Lowe v. Indep.

   Sch. Dist. No. 1, 363 F. App’x 548, 552 (10th Cir. 2010). “[B]ecause employers have a duty to

   help the disabled employee devise accommodations, an employer who acts in bad faith in the

   interactive process will be liable if the jury can reasonably conclude that the employee would

   have been able to perform the job with accommodations,” i.e., “the employee could have been




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   reasonably accommodated but for the employer’s lack of good faith.” Taylor, 184 F.3d at 317-

   18, 320;.

          Making this showing establishes a violation of the ADA because, as discussed above,

   “not making reasonable accommodations to the known physical or mental limitations” of a

   disabled employee constitutes discrimination. 42 U.S.C. at § 12112(b)(5)(A). Moreover,

   “[f]ailure to consider the possibility of reasonable accommodation for [an employee’s known

   disabilities], if it leads to discharge for performance inadequacies resulting from the disabilities,

   amounts to a discharge solely because of the disabilities.” Borkowski v. Valley Cent. Sch. Dist.,

   63 F.3d 131, 143 (2d Cir. 1995).

          Accordingly, “[a] question of fact as to whether an employer has failed to interact in good

   faith and thus failed to reasonably accommodate will preclude summary judgment for the

   employer.” Lowe, 363 F. App’x at 552; see also Smith 180 F.3d at 1174 (concluding summary

   judgment is “premature if there is a genuine dispute regarding whether [the employer]

   participated in good faith in” the interactive process). A court will not “readily decide on

   summary judgment that accommodation was not possible and the employer’s bad faith could

   have had no effect” because doing so “would effectively eliminate the requirement that

   employers must participate in the interactive process.” Taylor, 184 F.3d at 318; see also

   Simmons v. UPS, 310 F. App’x 973, 974 (9th Cir. 2009) (“Where there is a genuine dispute of

   material fact as to whether the employer properly engaged in the interactive process, summary

   judgment will seldom be appropriate because it is extremely difficult to prove that no reasonable

   accommodation would have been available.”).

          Defendant violated its obligation to participate in the IAP in good faith in at least three

   ways. The first two were discussed in previous sections and consisted of not reasonably



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   determining whether Officer Nguyen was disabled and not initiating the IAP when its obligation

   to do so was triggered. But Defendant also violated its good faith obligation by initiating the IAP

   after it decided to fire Officer Nguyen. See RSUMF, ¶¶ 37, 40-41; SADMF, ¶¶ 16-18. All three

   of these acts are related to the other two in that each act or failure to act by Defendant resulted in

   its firing Officer Nguyen without ever providing him a reasonable accommodation, yet now

   believing that it can legitimately argue that it “went above and beyond its duty by initiating . . .

   the formal [IAP],” which was so generous that “[t]he Court need not even consider [that]

   event[]” in its analysis. Def.’s Mot. Summ. J. 19-20.19

          It does not follow that because Defendant had already decided to terminate Officer

   Nguyen when he went to speak with Ms. Iverson after learning he would not return to FTO,

   Defendant was not required to initiate the IAP or provide him a reasonable accommodation. See

   id. at 19. The cases Defendant cite address situations in which the “reasonable accommodation”

   sought by the plaintiff was a second chance to show that he or she could perform the position

   without any additional reasonable accommodation, or the accommodation sought was the

   excusal of past misconduct that the employer had determined was not caused by the plaintiff’s

   disability. See Dewitt v. SW. Bell Tel. Co., 845 F.3d 1299, 1305-06, 1309-10, 1316 (10th Cir.

   2017); Siefken v. Vill. Of Arlington Heights, 65 F.3d 664, 666-67 (7th Cir. 1995). Officer

   Nguyen’s claim is not that Defendant should have offered him as a reasonable accommodation

   “retroactive leniency—irrespective of whether the misconduct resulted from [his] disability.”



   19
      As an initial matter, Defendant provides no support for its assertion that essentially, because it
   initiated the IAP when it allegedly had no obligation to do so, it had no obligation to participate
   in good faith. The two cases it cites do not address the issue here; rather, they deal with whether
   an employer who has provided an accommodation it was not obligated to provide has to continue
   to provide that accommodation indefinitely. See EEOC v. TriCore Reference Labs., 493 F. App'x
   955, 959-60 (10th Cir. 2012); Vande Zande v. Wis. Dep't of Admin., 44 F.3d 538, 544-45 (7th
   Cir. 1995).
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   Dewitt, 845 F.3d at 1316. Rather, Officer Nguyen’s claim is that because Defendant had notice, a

   significant amount of time before it decided to fire him, that he was disabled and needed

   reasonable accommodation, and Defendant’s failure to provide reasonable accommodation

   caused most of the performance difficulties for which it contends it fired him, his termination

   was caused by Defendant’s failure to reasonably accommodate him, in violation of the ADA. See

   Borkowski, 63 F.3d at 143; see also United States v. Miss. Dep’t of Pub. Safety, 309 F. Supp. 2d

   837, 842 (S.D. Miss. 2004); Rednour v. Wayne Twp., 51 F. Supp. 3d 799, 820-21 (S.D. Ind.

   2014).20 The second chance doctrine applied in Siefken and Dewitt “den[ies] already

   accommodated and at-fault plaintiffs from winning an endless string of new accommodations

   after each failure. The doctrine does not apply to plaintiffs who, through no fault of their own,

   [had] not yet had a chance to get the [accommodations] they need.” Steere v. George Wash.

   Unv., 368 F. Supp. 2d 52, 57 (D. D.C. 2005).

          Even were Defendant correct (which Officer Nguyen disputes) that its obligation to

   initiate the IAP was not triggered until Officer Nguyen’s conversation with Ms. Iverson, because

   “the determination of whether an individual is a qualified individual with a disability must be

   made as of the time of the [adverse] employment decision,” Jacobsen, 2012 U.S. Dist. ELXIS



   20
      The cases cited by Defendant are also inapplicable because they rely on the principle that “[a]n
   employer never has to excuse a violation of a uniformly applied conduct rule that is job related
   and consistent with business necessity.” Dewitt, 845 F.3d at 1316 (quoting The U.S. Equal
   Employment Opportunity Comm’n, Enforcement Guidance on Reasonable Accommodations
   Undue Hardship Under the Americans with Disabilities Act (Oct. 27, 2002), available at
   https://www.eeoc.gov/policy/docs/accommodation.html). Because other recruits were not
   terminated for very similar performance issues for which Defendant contends Officer Nguyen
   was fired, see § V.C, Defendant unlawfully selectively applied its conduct and/or performance
   standards to target Officer Nguyen because of his hearing disability. See Spulak v. K-Mart Corp.
   894 F.2d 1150, 1155 (10th Cir. 1990) (“A plaintiff may counter proof of legitimate business
   reasons by showing that the rules were not uniformly enforced, thereby raising the inference that the
   employer selectively enforced its rules against the plaintiff and the rules were but a pretext to mask
   [unlawful] discrimination.”).
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   25019, at *22 (Babcock, J.), the fact Officer Nguyen was not officially terminated until two

   months after the initiation of the IAP means Defendant was still obligated to comply with the

   ADA, which meant participating in the IAP in good faith. As explained by the District of

   Columbia District Court in an analogous situation in which the adverse action had been

   recommended but not yet acted on, Defendant’s “own regulations doom its timeliness

   argument.” Steere, 368 F. Supp. 2d at 57; see also Singh v. George Wash. Univ. Sch. Of Med. &

   Health Scis., 408 F.3d 1097, 1105 (U.S. App. D.C. 2007) (plaintiff’s request for reasonable

   accommodation after dismissal recommendation needed to be considered). Because the

   obligation to initiate the IAP was, according to Defendant, triggered when Officer Nguyen spoke

   with Ms. Iversen, which was before Executive O’Malley, “who had sole authority to terminate

   [Officer Nguyen’s] employment,” Def.’s Mot. Summ. J. 9, acted on the termination

   recommendation, Defendant’s had a then-current obligation to provide Plaintiff a reasonable

   accommodation, and a concurrent obligation to participate in the IAP in good faith. See

   Bultemeyer, 100 P.3d at 1287 (concluding that the defendant did not act in good faith when “it

   was well aware of [the plaintiff’s medical condition],” “fired [the plaintiff] as soon as it could”

   for failing to report to work, and “when he presented a request for reasonable accommodation, . .

   . ignored it, saying that it came too late.”).21



   21
      Moreover, if Defendant truly believed it had no obligation to allow Officer Nguyen to return to
   work with a reasonable accommodation because he had essentially already been fired, why even
   initiate the IAP at all? Several employees of Defendant, including Ms. Iversen, have tried to
   suggest that despite the obvious answer to this question—that the IAP was a sham intended to
   look like ADA compliance without actually complying—the IAP was not a sham (although,
   according to Ms. Iversen, such a scenario is “problematic”) because one purpose of the IAP is to
   determine whether an employee who cannot perform the essential functions of the job of police
   officer could be reassigned to another position with Defendant. Ex. 14, Iversen Dep. 83:25-84:6,
   90:14-20; see also Ex. 15, Klee Dep. 39:18-24. However, under DPD’s ADA policy, “[t]he
   preferred option [in undertaking the IAP] always shall be a reasonable accommodation that
   allows the employee to remain in his/her existing job as a Denver Police Officer.” Ex. 12, DPD
                                                      77
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           For a similar reason, Defendant purchasing or providing the hearing aids for Officer

   Nguyen is not the reasonable accommodation he is proposing. See Def.’s Mot. Summ. J. 22-23.

   Rather, the reasonable accommodation—which, again, is determined at the time of the adverse

   employment action—would have been granting Officer Nguyen the opportunity to obtain new

   hearing aids (and provide him the use of a FreeLinc) rather than terminating him because he

   could not perform the essential functions of his job. Such a scenario is contemplated by the rule

   that “[a]n allowance of time for medical care or treatment may constitute a reasonable

   accommodation.” Rascon v. U.S. W. Communs., 143 F.3d 1324, 1333-34 (10th Cir. 1998). If

   Officer Nguyen were an employee with a more visible disability, such as the need to use a

   wheelchair, but his wheelchair was not working properly during a probationary period at work

   thereby preventing him from performing the essential functions of his job, no reasonable jury

   would accept the argument that an employer could fire him rather than afford him time to fix his

   wheelchair or get a new one. See The U.S. Equal Employment Opportunity Comm’n,

   https://www.eeoc.gov/policy/docs/accommodation.html (“An employee with a disability may

   need leave for a number of reasons related to the disability, including, but not limited to:

   obtaining repairs on a wheelchair . . . .”) .

           Here, because a reasonable jury could conclude that Officer Nguyen was not provided a

   reasonable accommodation during FTO because of Defendant’s failure to timely initiate or

   participate in the IAP, and he could have performed the essential functions of the job if he were,




   Policy, at 3. Because Defendant had already decided Officer Nguyen would not return to DPD as
   a police officer, with or without a reasonable accommodation, it is clear Defendant did not intend
   to comply with its own policy. Additionally, the job description Defendant supposedly included
   as part of the RAQ packet was for a police officer, not any other position.
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   there are disputed factual issues whether Defendant denied Officer Nguyen a reasonable

   accommodation and thus violated the ADA.

      C. DEFENDANT DISCRIMINATED AGAINST OFFICER NGUYEN BY
         TERMINATING HIM BECAUSE OF HIS HEARING DISABILITY.

          In addition to the disputed factual issues shown above regarding whether Defendant

   discriminated against Officer Nguyen by not providing him a reasonable accommodation, there

   are also disputed factual issues whether Defendant discriminated against Officer Nguyen by

   unlawfully discharging him due to his disability.

          As to Officer Nguyen’s burden on this prong, “unlike a person’s race, an employer may

   legitimately take a [disability] into consideration in determining whether . . . an employee is

   qualified for a particular position.” Barth v. Gelb, 2 F.3d 1180, 1185 (U.S. App. D.C. 1993).

   When employers “acknowledge that they have taken a person’s [disability] into consideration” in

   making an employment decision, McDonnell Douglas-type burden shifting is not applicable.

   Here, Defendant explicitly relied on Officer Nguyen’s hearing disability in firing him, see, e.g.,

   SADMF, ¶¶ 12-13, 15, on the (perhaps implicit) assumption that he was not a qualified

   individual who could perform the essential functions of the job with a reasonable

   accommodation. Because his disability explicitly motivated DPD to terminate his employment,

   Officer Nguyen has established that his termination was based on his disability, and because, as

   shown, above, Officer Nguyen has at least established a disputed issue of material fact that he

   can, with a reasonable accommodation, perform the essential functions of the job of DPD police

   officer, there are also disputed factual issues whether his termination violated the ADA. See id.;

   see also Sedor v. Frank, 42 F.3d 741, 746 (2d Cir. 1994) (“The causal relationship between

   disability and decision need not be direct, in that causation may be established if the disability

   caused conduct that, in turn, motivated the employer to discharge the employee.”).

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           But if the direct evidence that Defendant relied on Officer Nguyen’s disability in firing

   him is not sufficient to establish Defendant discriminated against him because of his disability,

   applying a traditional McDonnell Douglas pretext analysis shows that a reasonable jury could

   conclude Officer Nguyen’s termination was based on his disability, and indeed, solely on his

   disability. An adverse employment decision is based solely an employee’s disability “if the only

   reason” for the decision was the disability. Sedor, 42 F.3d at 746. While Defendant argues that

   issues like report writing and orientation also played a role in Officer Nguyen’s termination, the

   End of Phase Reports for many of his classmates show that such an assertion is pretext. See

   Garrett v. Hewlett-Packard Co., 305 F.3d 1210, 1217 (10th Cir. 2002) (“A plaintiff can

   withstand summary judgment by presenting evidence sufficient to raise a genuine dispute of

   material fact regarding whether the defendant’s articulated reason for the adverse employment

   action is pretextual.”).

           Many of Officer Nguyen’s classmates made officer safety mistakes that were of

   comparable seriousness as those his training officers and supervisors said that he made, and

   some of the reported incidents involving his classmates were in fact very similar to allegedly

   inexcusable things that he had done. See, e.g., SADMF, ¶ 28.b, e, g, h, i, j, k; Cf. Smothers v.

   Solvay Chems., Inc., 740 F.3d 530, 541 (10th Cir. 2014) (“When comparing different treatment

   of similarly-situated employees, the comparison need not be based on identical violations of

   identical work rules; the violations need only be of comparable seriousness.” (citation omitted)).

   All these same classmates also had significant struggles with report writing, orientation, and/or

   radio listening and comprehending. See, e.g., SADMF, ¶ 28.b, e, g, h, i, j, k. Yet, not only are all

   of them now (or at least as of the end of 2016) current DPD officers, they were all given at least

   one full remedial training phase immediately after their weaknesses were identified as needing



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   such training, and indeed some of these recruits were given two or even three remedial training

   phases. See, e.g., SADMF, ¶ 27.b, e, g, h, i, j, k. The only significant difference between these

   officers and Officer Nguyen, however, appears to be his hearing disability. See Garrett, 305 F.3d

   at 1219-20 (holding that the plaintiff of a protected class raised a genuine doubt about the

   defendant’s motivation in part because his performance was very similar to that of a co-worke

   who was not in the protected class who was treated more favorably).22

          Additionally, Defendant has changed its justification for firing Officer Nguyen multiple

   times since he was fired and during the course of litigation, bouncing from he was not disabled to

   it was mostly report writing and orientation to he could not perform the essential functions of the

   position with or without an accommodation regardless. See, e.g., SADMF, ¶¶ 14, 30. “An

   employer’s change in justifications for its decisions supports a finding of pretext when . . . the

   change is made after significant legal proceedings have occurred.” Jaramillo v. Colo. Judicial

   Dep’t, 427 F.3d 1303, 1311 (10th Cir. 2005).

          “So long as the plaintiff has presented evidence of pretext . . . upon which a jury could

   infer discriminatory motive, the case should go to trial. Judgments about intent are best left for

   trial and are within the province of the jury.” Plotke v. White, 405 F.3d 1092, 1103 (10th Cir.

   2005). Because there are at the very least disputed factual issues whether Defendant’s reason for

   firing Officer Nguyen was his hearing disability, his ADA and Rehabilitation Act claims may not

   be summarily judged.



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      The other recruits’ reports also show why it was so easy for Defendant to assert a seemingly
   legitimate basis for firing Officer Nguyen. Unlike many jobs, in which an employee may have
   only an annual review, if that, and so only truly serious or consistent issues are addressed, FTO
   trainees were extensively evaluated in writing every day of FTO. Given that so many of his
   fellow, non-disabled, still-employed trainees also have long records showing their performance
   difficulties, it is not surprising that Defendant was able to show Officer Nguyen had issues
   besides just hearing.
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                                      VI.    CONCLUSION

          WHEREFORE, for the foregoing reasons, the multitude of remaining genuine issues of

   material fact precludes this Court from summarily judging Officer Nguyen’s claims, and Officer

   Nguyen respectfully requests that Defendant City and County of Denver’s Motion for Summary

   Judgment be denied.

          Respectfully submitted this 26th Day of June 2017.

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                                   CERTIFICATE OF SERVICE

        I certify that on this 26th day of June 2017, I filed a true and correct copy of the foregoing
   RESPONSE TO DEFENDANT CITY AND COUNTY OF DENVER’S MOTION FOR SUMMARY
   JUDGMENT via CM/ECF which will generate notice to the following:

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